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                                                            Composite Exhibit 1
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                     IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
                              IN AND FOR ORANGE COUNTY, FLORIDA
                                         CIVIL DIVISION



          PANDORA MARKETING, LLC, a Wyoming
          limited liability company; PANDORA
          SERVICING, LLC, a Wyoming limited
          liability company; RICH FOLK, an individual
          and resident of the State of California;
          WILLIAM WILSON, an individual and
          resident of the State of California,



               Plaintiffs,

                v.                                           Case No.: 23-CA-

          WYNDHAM VACATION OWNERSHIP,
          INC. a Delaware corporation; WYNDHAM
          VACATION RESORTS, INC., a Delaware
          corporation,      WYNDHAM         RES ORT
          DEVELOPMENT            CORPORATION;     an
          Oregon Corporation;     SHELL  VACATIONS,
          LLC, an Arizona limited liability company;
          SVC-AMERICANA, LLC, an Arizona limited
          liability company; and SVC-HAWAII, LLC, a
          Hawaii limited liability company;

               Defendants.




                        VERIFIED COMPLAINT FOR BREACH OF CONTRACT

               Plaintiffs, PANDORA MARKETING, LLC, PANDORA SERVICING LLC, RICH

         FOLK, and WILLIAM      WILSON (collectively "Plaintiffs"   and   "Pandora"), hereby sue

         Defendants, WYNDHAM     VACATION      OWNERSHIP, INC., WYNDHAM             VACATION

         RESORTS,    INC.,   WYNDHAM    RESORT DEVELOPMENT CORPORATION,                  SHELL
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 VACATIONS, LLC, SVC-AMERICANA, LLC,                      and   SVC-HAWAII, LLC (collectively

 "Defendants" and "Wyndham").

         1)     SUMMARY: This is a breach of contract action brought pursuant to a November

 2, 2020 contract titled   "Confidential Settlement Agreement As To Fee Award" and referred to

 herein as "Discovery Settlement Agreement," attached as Exhibit A. The Discovery Settlement

 Agreement settled certain litigation disputes between the Plaintiffs and Defendants in this case.

 The disputes arose during     a   litigation pending in Federal Court, wherein the Federal Court

 eschewed jurisdiction and declined to review the contract. By its terrns any action brought pursuant

 to the Discovery Settlement Agreement may be brought in this court.

                                    JURISDICTION AND VENUE

        2)      This Court has jurisdiction because the amount in controversy exceeds Fifty

 Thousand and 00/100 Dollars ($50,000.00), exclusive of interest and costs.

        3)      Venue is proper under section 47.011, Florida Statutes, because the Defendants

 reside in Orange County, Florida, and the cause of action occurred in Orange County, Florida,

                                              PARTIES

 A.      Plaintiffs

        4)      Pandora Marketing, LLC is      a   limited liability company organized and existing

 under the laws of the State of 'Wyoming.

        5)      Pandora Servicing, LLC is a limited liability company organized and existing under

 the laws of the State of Wyoming.


        6)      Rich Folk is an individual and resident of the State of California.

        7)      William Wilson is an individual and resident of the State of California.




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 B.     Defendants

        8)      Wyndham Vacation Ownership, Inc. is a corporation with its principal place of

 business in Orange County, Florida.


        9)      Wyndham Vacation Resorts, Inc. is a corporation with its principal place of

 business in Orange County, Florida.


         10)    Wyndham Resort Development Corporation is a corporation with its principal place

 of business in Orange County, Florida.

        11)     Shell Vacations LLC is    a   limited liability company with its principal place of

 business in Orange County, Florida.


         12)    SVC-Americana, LLC is a limited liability company with its principal place of

 business in Orange County, Florida.


        13)     SVC-Hawaii, LLC is a limited liability company with its principal place of business

 in Orange County, Florida,

        14)     In particular, Ryan Morettini, Esq. is the "VP-Legal" for Wyndham, including all

 six of the aforementioned entities.

        15)     Ryan Morettini, Esq. is a Florida Bar Admitted General Counsel with an Orlando

 Address.

        16)     Further, the notice address under the Discovery Settlement Agreement for each

 Defendant is in Orlando.

        17)     Thus, each Defendant is a resident of Florida for jurisdictional purposes.




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                                        GENERAL ALLEGATIONS

          18)       Plaintiffs and Wyndham          are parties to   the case   styled Wyndharn Vacation

 Ownership, Ina, et al. v. Slattery, Sobel & Decamp, LLP, et al., Case No. 6:19-cv-01908 (M.D.

 Fla.). (the "Litigation")1

          19)       During the Litigation, Pandora inadvertently produced 33 privileged documents

 due to the voluminous nature of the discovery exchanged. See Doc. 151 at 1.


          20)       On August 28, 2020, Pandora partially discovered the inadvertent disclosures. Id.

          21)       Pandora's counsel notified Wyndham's counsel that it had produced privileged

 docurnents and requested their return, pursuant to the Stipulated Confidentiality Agreement. Id. at

 1;   Id., Exhibit B (Stipulated Confidentiality Agreernent); Id., Exhibit C (correspondence).

 Pandora's counsel re-analyzed the entire document production for other inadvertent disclosures.

          22)       On   September     10    and   11, 2020, Pandora identified additional inadvertent

 disclosures. Id. at 2. An amended privileged log was immediately served noting additional

 privileged documents inadvertently produced by Pandora. Id. at 2 and Id., Exhibit D (Privilege

 log).

         23)        Pursuant to Federal Rule of Civil Procedure 26(b)(5)(B), a party that inadvertently

 discloses privileged information is entitled to protection of the information
                                                                                     pending resolution of

 any dispute over     its confidentiality.


         24)        Specifically, any receiving party is obligated to "retum, sequester, or destroy the

 specified information and any copies it has; [and] must not use or disclose the information until

 the claim is resolved." Id.




 1
  The Plaintiffs in this case are Defendants in the "Litigation." Citations to filings on the Litigation
 docket sheet are noted herein as "Doc."

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           25)    Further, the partiesStipulated Confidentiality Agreement imposed a similar

  obligation. Doc.    145-2, Page        18-19, Section   9   (INADVERTENT PRODUCTION             OF

  PRIVILEGED OR OTHERWISE PROTECTED MATERIAL.")

           26)    Instead of returning or sequestering the documents, Wyndharn inexplicably filed

  them on the public docket. Doc. 132 (now sealed, with exhibits).

           27)    The Federal Court therefore struck the privileged documents and imposed sanctions

  on   Wyndharn. Doc. 210 at 8-9.

           28)    Wyndham was sanctioned by the Federal Court in the Litigation and ordered to pay

 Pandora its fees. Id. at 9.

           29)    In sanctioning Wyndham, the Federal Court determined that Wyndharn's counsel,

  Shutts & Bowen, knowingly utilized Pandora's privileged and confidential documents in violation

  of the Rules of Civil Procedure. Id at 7 (Rather than returning the documents and litigating the

 privilege dispute based on information provided in the privilege log and through other, non-

 privileged sources, Plaintiffs decided to affirmatively utilize the documents to further the ends of

 their litigation strategy")

           30)    Pandora's estimated fees were approximately $90,000 at that time.

           31)    Pandora      and   Wyndham entered into      a   Confidential Discovery Settlement

 Agreement As To Fee Award, dated November 2, 2020 (the "Discovery Settlement Agreement").

           32)    A copy of the Discovery Settlement Agreement is attached as Exhibit "A."2

           33)    The Discovery Settlement Agreement is effective November 1, 2020.

           34)    The Discovery Settlement Agreement is dated November 2, 2020.




 2
  The Plaintiffs in this case        include the "Marketing Defendants" referenced in the "Discovery
 Settlement Agreement."

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            35)     The Discovery Settlement Agreernent bars Wyndham from using issues raised on

  or   prior to October 5, 2020 at paragraph 3.

            36)     The Discovery Settlement Agreernent contains a non-waiver provision at paragraph

  15.


            37)     The Discovery Settlement Agreement arises from Wyndharn's improper conduct in

  the Litigation.


            38)     In   the   Litigation, Pandora and    co-defendant Intermarketing Media,     LLC

  (collectively "Marketing Defendants") had no counsel of record when the Discovery Settlement

  Agreement was negotiated, so they engaged counsel in California for the limited purpose of

  negotiating with Wyndham's Litigation counsel Shutts & Bowen.

            39)     In the Discovery Settlement Agreement, Wyndham negotiated to pay the Marketing

  Defendants a reduced sanctions fee of $45,000; obtained the right to further depose Pandora's

  principals Rich Folk and William Wilson; and the right to avoid the disqualification of its lawyers,

  Shutts & Bowen, due to their sanctionable conduct.

            40)     In exchange, Wyndham agreed that all discovery problems predating the Discovery

  Settlement Agreement would be settled and off limits to future motion practice.

            41)     In other words, any real or alleged deficiency, violation or mistake committed

  before the Discovery Settlement Agreement could never again be used to seek sanctions against

  Pandora, or its counsel. The Discovery Settlement Agreement, therefore, incorporated by reference

  Wyndham's initial sanctions motion, Doc. 132, without which an understanding of the Discovery

  Settlement Agreement was not possible.          Ex. A CWHEREAS, Wyndharn filed its Motion for

  Sanctions against the Marketing Defendants and their Attorneys ("Sanctions Motion") (Doc. 132),

  seeking various sanctions against both the Marketing Defendants and their counsel;").



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         42)     Doc. 132 was sealed and retnoved from the Litigation docket by the Federal Court

  in the Litigation as it referenced Pandora's privileged documents.

         43)     Notably, the terms of the Discovery Settlement Agreement were          negotiated when

  the Marketing Defendants had no counsel of record in the Litigation. And the Discovery Settlement

 Agreernent was not rnade known to the Federal Court, only the fact that the parties had settled the

  matter. See Doc. 242.

         44)     After its execution, Pandora's principals only knew that Wyndham's request for

  sanctions had backfired and resulted in Wyndham having to pay sanctions to the Marketing

 Defendants. The importance of the terms barring re-litigation of settled issues contained in the

 Discovery Settlement Agreement were not appreciated by Pandora's principals. And the California

  counsel who negotiated the Discovery Settlement Agreement            was   not, thereafter, counsel to

 Pandora in Litigation.

         45)     About a month after the negotiation of the Discovery Settlement Agreement,

 Pandora hired new Litigation counsel, Houston Park, Esq. of Klein Park & Lowe.

         46)     Per Alfred J. Bennington, Jr., Esq., Wyndham's senior outside counsel at Shutts &

 Bowen, Mr. Bennington and his colleague Glennys Ortega Rubin, Esq. informed Mr. Park of the

 Discovery Settlement Agreement soon after he appeared for Pandora. Mr. Park has declared in

 sworn   declarations that Mr. Bennington only told him that there was       a confidential   settlement of

 fees related to a sanctions matter. Mr. Park is clear that neither Mr. Bennington, nor anyone from

 Shutts & Bowen, ever told him about the terrns of the Discovery Settletnent Agreement, which


 prohibited the use of settled issues. See Exhibit E (declarations and communication of Mr. Park).

         47)    No Shutts & Bowen lawyer or staff ever gave Mr. Park a copy of the Discovery

 Settlement Agreement.



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         48)      No Shutts & Bowen lawyer or staff ever        gave Mr. Park a copy of Doc. 132,

 Wyndham's initial motion for sanctions.

         49)      Wyndham's initial motion for sanctions (Doc. 132) had been rernoved from the

  docket when Mr. Park entered the case.

         50)      Doc. 132 is needed to understand the specific issues that the parties agreed to settle

  in the Discovery Settlement Agreement.


         51)      Wyndharn's counsel Shutts & Bowen failed to accurately and fully advise

  Pandora's new   Litigation counsel, Mr. Park, of the relevant terrns of the Discovery Settlement

  Agreement.

         52)      Houston Park litigated Wyndham's second motion for sanctions (Doc. 500), and

  related matters, without raising objections to Shutts & Bowen's use of issues barred by the

  Discovery Settlement Agreement, because Mr. Park was not aware         of the terms of the Discovery

  Settlement Agreement.

         53)      Wyndham's Litigation counsel, Shutts & Bowen, exploited its informational

  advantage, by continually raising issues barred by the Discovery Settlement Agreement to

  advocate for sanctions and default, knowing that neither the Federal Court nor Pandora's counsel

  were aware   of the central terms of the Discovery Settlement Agreement.

         54)      Wyndham's counsel, Shutts & Bowen, leveraged its informational advantage to

  violate the Discovery Settlement Agreement's terms without rejoinder.

         55)      The Federal Court entered the sanction of default against Pandora, in pertinent part,

  due to Wyndharn's repeated violation of the Discovery Settlement Agreernent.




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          56)     After Houston Park withdrew from the Litigation, Pandora retained new           case


  counsel, John Bennett of Nardella & Nardella in Orlando and Patrick A. Bradford of Bradford

  Edwards & Varlack, LLP in New York City.

          57)     During Messrs. Bennett and Bradford's representation, and in connection with

  investigating a potential offset of sanctions issued against the Marketing Defendants, Mr. Bennett

  sought a copy of the Discovery Settlernent Agreement.

         58)      Houston Park was unable to provide a copy to Messrs. Bennett and Bradford.

         59)      So too Pandora's principals, who pointed Bennett and Bradford to the California


  counsel.

         60)      Eventually the California counsel who negotiated the Discovery Settlement

  Agreement on behalf of the Marketing Defendants was able to provide the agreement to Messrs.

  Bennett and Bradford.

         61)      Thereafter, Mr. Bennett asked Shutts & Bowen attorney Michael Quinn for a copy

  of Doc. 132, Wyndham's initial sanctions motion.

         62)       Michael Quinn refused to produce Doc. 132 to Mr. Bennett, stating that the

  document was confidential.

         63)      Messrs. Bennett and Bradford were finally able to secure   a
                                                                                 copy of Doc. 132 from

 the Marketing DefendantsCalifornia counsel.

             Wyndham's Repeated Violations of the Discovery Settlement Agreement

         64)      Since the execution of the Discovery Settlernent Agreernent, Wyndham repeatedly

 violated its terrns.




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         65)      Thus, Wyndham did not abide by the Discovery Settlement Agreernent, instead it

  referenced settled issues the very next time it resorted to seeking relief frorn the Federal Court in

  connection with discovery issues. Doc. 500.

         66)      These circumstances, including the Federal Court's ignorance of the Discovery

  Settlement Agreement, and Shutts & Bowen's refusal to inform Mr. Park of its relevant terrns,

  enabled Wyndham to continue to violate the Discovery Settlement Agreement without the Federal

  Court's and without Pandora's knowledge.

         67)      As a consequence of Wyndharn's breaches, Pandora was         disadvantaged, harrned

  and darnaged.


         68)      The Discovery Settlement Agreement barred numerous       matters from consideration

  in future motion practice.

         69)      However, Wyndham was        able to repeatedly smuggle barred issues back into the


 Litigation due to the Federal Court's and Pandora's counsel's ignorance of the terms of the

  Discovery Settlement Agreement.

         70)      Specifically, in the Discovery Settlement Agreement, Wyndham agreed not to seek

  sanctions against Pandora and/or their counsel in connection with any issues raised in the previous

  discovery rnotions and disputes or issues raised that accrued on or prior to October 5, 2020. Exhibit

 A, para. 1

         71)      However, Wyndharn breached the terms of the Discovery Settlement Agreement

  and relied upon issues that were   barred by the Discovery Settlement Agreernent in seeking later

 relief, including default against Pandora.




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          72)      For example, at a June 9, 2021 hearing, Wyndham relied upon problems dating

  from 2020 to justify its position. Doc. 455, Page 7:7-8 (Throughout 2020 we were stonewalled in

  discovery.")

          73)      Wyndham also complained about the status of document productions back in 2020

  before the Discovery Settlement Agreement. Doc. 455, Page 7:12-14, 21-23.

          74)     In fact, Wyndham specifically linked events dating back before the Discovery

  Settlement Agreement to the upcoming Sanctions Motion (Doc. 500):

          The depositions of Mr. Folk and Mr. Wilson were taken back, like I said, August
          of 2020. We didn't have the benefit of any of those documents back then, and we've
          since gone through all of 2021 without any of those documents. Much of this is
          probably going to be the subject of an additional sanctions motion where we seek
          fairly significant sanctions.

  Doc. 455, Page 8: 5-10.

          75)     Wyndham relied upon supposed discovery defaults that occurred before Pandora

  was   even joined in the lawsuit, long before the Discovery Settlement Agreement:


          Moreover, they never preserved the call recordings that we had requested back in
          April until at least May or June of 2020. So we went through October of 2019 where
          all of the Defendants were aware we were going to be suing Pandora to January
          when we actually sued Pandora to April when we requested the call recordings. So
          it took them until at least May or June for them to even collect the call recordings.

  Doc. 455, Page 15:3-9, see also Page 19:12-13 (arguing that "May or June of 2020, it was

  too late at that point.")


          76)     Even the Federal Court recognized that the discovery problems in 2021 stemmed

  frorn issues that arose prior to Mr. Park's involvement in the case.

          77)     For example, the Federal Court stated:

          THE COURT: I understand the position you're in, Mr. Park. I think we've
          recognized this all along, given when you came into the case and what was done
          previously, and you're inheriting a lot of these problems...
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  Doc. 455, Page 27:24-28:2.

         78)    Even Pandora took the position that the problems stemmed from issues prior to the

  Discovery Settlement Agreement. Doc. 455, Page 31:4-5 (We're doing eveiything we can to rnake

  up for what should have been done a year ago, but regrettably was not, apparently.")


         79)    Park's involvement in the Litigation began just after the Discovery Settlement

  Agreement was executed. Doc. 247 (Park Notice of Appearance), filed November 11, 2020.

         80)    The parties had notified the Federal Court of the resolution of Pandora's motion for

  sanctions against Wyndham just days earlier. Doc. 242 (Stipulation Resolving Attorney Fees)

         81)    This resolution was accomplished by the Discovery Settlement Agreement.

         82)     Wyndharn filed additional motions for sanctions against Pandora based in whole or

  in part on matters barred by the Discovery Settlement Agreement. Doc. 435 (Wyndham seeking

  reimbursement) and Doc. 500 (Wyndham seeking default against Pandora).

         83)     Wyndham's arguments in the Litigation in the additional motions for sanctions

  against Pandora violated the clear terms of the Discovery Settlement Agreement.

         84)     On July 22, 2021, Wyndham filed a Second Motion for Sanctions in the Litigation.


  (Second Sanctions Motion"). Doc. 500.

         85)     Wyndham's Second Sanctions Motion included             numerous   irnproperly argued

  issues and matters barred by the Discovery Settlement Agreement.


         86)     For example, the very first page of the Second Sanctions Motion stated that

  "Wyndham has been before this Court many times since June 2020 to compel the Defendants to

  produce the discovery. ." Doc. 500, Page   1
                                                 (emphasis supplied).

         87)     Wyndham also alleged loss of evidence that would have occurred not later than the

  first half of 2020, long before execution of the Discovery Settlement Agreement. Doc. 500, Page



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  2   (Wyndham is further prejudiced in that      despite being on notice since as early as October 2019,

  when this action was filed       and having received formal discovery requests for these materials in


  April 2020 Defendants failed to preserve certain key records. There is no comparable replacement
                 -




  for such spoliated evidence.").

           88)       In the alternative, any failure to produce available call recordings that were   later

  deemed lost was complained about by Wyndham prior to execution of the Discovery Settlernent

  Agreement. Doc. 132, Page 13.

           89)       In its Second Sanctions Motion, Wyndham specifically referred to the blow by blow

  of discovery actions, much of which predated the Discovery Settlement Agreement. Doc. 500,

  Pages 5-10 (detailing actions from 2019 through September 2020). Wyndham's July 22, 2021

  blow by blow account was barred by the Discovery Settlement Agreement.

           90)       Further, Wyndham recited numerous      motions and orders regarding discovery that

  long predated the Discovery Settlement Agreement. Doc. 500, Pages 6-7 (citing Does. 82, 83, 85,

  86, 87, 88, 89, 106, and 108)


           91)       Wyndham then complained about an August 2020 production, which again long

  predated the Discovery Settlernent Agreement. Doc. 500, Pages 7-8.

           92)       The Second Sanctions Motion also repeatedly emphasized discovery issues


  predating October 5, 2020, which were precluded by the Discovery Settlement Agreernent, even

  when discussing later problerns. See e.g. Doc. 500 Pages 15-16, 17-18, 19-20, 23-24, 25.

           93)       In fact, on balance, the overwhelming ernphasis of the Second Sanctions Motion is

  on   acts that were   either performed or that Wyndharn contends should have been perforrned prior

  to the Discovery Settlement Agreernent.




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          94)    Thus, the discussion of acts and omissions predating the Discovery Settlement

  Agreement was not merely incidental or contextual.

          95)    Lastly, Wyndham demanded attorney fees for rnotions dating back to the beginning

  of the case, without any differentiation or deduction for matters that arose prior to matters resolved

  by the Discovery Settlement Agreement. Doc. 500, Page 34.

          96)    Instead, Wyndham affirmatively sought relief regarding problems that were barred

  by the Discovery Settlernent Agreement, and thereby violated the Discovery Settlement

  Agreement.

          97)    Wyndham did not acknowledge, let alone explain, its repeated violations of the

  Discovery Settlement Agreement in its Second Sanctions Motion.

          98)    On August 11-12, 2021, the Federal Court conducted a two-day hearing on the

  Second Sanctions Motion.


          99)    During the two-day hearing, Wyndham's argurnents included rnany issues and

  matters barred by the Discovery Settlernent Agreement.


          100)   For example, in his introductory remarks, Michael Quinn, counsel for Wyndham,

  immediately began by pointing to discovery problems as early as August 3, 2020, months before

  execution of the Discovery Settlement Agreement. Doc. 533, Page 7:4-7.

          101)   The very first witness at the August 11, 2021 Sanctions Hearing was induced to

  testify to matters beginning in "spring of 2020." Doc. 533, Page 11:13.

          102)   This witness also testified about discovery problems with Interrnarketing Media,

  LLC   (Interrnarketine) in August of 2020. Doc. 533, Page 21:3-5.

          103)   Intermarketing is another party to the Litigation and is a party to the Discovery

  Settlement Agreement.



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          104)   Wyndham also introduced evidence regarding deadlines and depositions in August

  2020, predating the Discovery Settlement Agreement. Doc. 533, Page 23:11-24:12.

          105)   In fact, according to Wyndham, evidence had been lost and Wyndharn had been

  informed of the sarne   no   later than August 19, 2020. Doc. 533, Page 22:22-23:1. Again, this line

  of inquiry was precluded by the Discovery Settlement Agreement.

          106)   During the cross examination of Pandora Employee Catherine Tan by counsel for

  Wyndham, Wyndham repeatedly asserted that Pandora had failed to preserve call recordings in

  2019 and early 2020. See e.g. Doc. 533, Page 159:8-1-164:18 (belaboring such alleged failures).

  Alleging these discovery failures was precluded by the Discovery Settlement Agreement.

          107)   In fact, during closing arguments at the sanctions hearing, counsel for Wyndham

  alleged "discovery misconduct" arising prior to Attorney Park's appearance in the case. E.g. Doc.

  536, Page 40:16-41:1. Attorney Park appeared in the case on November 11, 2020.            Doc. 247.

  Attorney Park's appearance post-dated the Discovery Settlement Agreement executed                on


  Novernber 2, 2020.      The Discovery Settlement Agreement precluded alleging any "discovery

  misconducr predating Attorney Park's appearance.

          108)   In fact, counsel for Wyndham traced all of the problems in the case back to

  Pandora's supposed failure to follow the Federal Court's "initial order, document 108," which long

  predated the Discovery Settlement Agreement. Doc. 536, Page 41:19-23.

          109)   Further, during the cross-examination of a paralegal at a firrn that formerly

  represented Pandora, counsel for Wyndham again belabored discovery problems resolved by and

 precluded by the Discovery Settlement Agreement. See e.g. Doc. 536, Page 28:17-22.

         110)    On August 26, 2021, Wyndham filed their post-hearing brief in support of their

  motion for sanctions. Doc. 547.



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         111)    Wyndharn's post-hearing brief improperly included many issues and matters baned

  by the Discovery Settlement Agreement. Doc. 547.

         112)    For exarnple, the brief referred again to numerous   Orders and supposed discovery

  problems that predated the Discovery Settlement Agreement. Doc. 547, Page 2 (citing Docs. 108

  (July 6, 2020) and 198 (Sept. 22, 2020)), Page 3 (citing problems occurring between April and

  August 2002); Page 6 (again referring to Doc. 108 (July 6, 2020) and claiming that Pandora

  Marketing, LLC deleted call recordings, presumably prior to the Discovery Settlement

  Agreernent); Pages 6-7 (claiming that Intermarketing wrongfully operated under the "Pandora

  umbrella" for purposes of discovery compliance and attributing supposed Pandora missteps to

  Intermarketing); Page 12 (again referring to loss of recordings that occurred before the Discovery

  Settlement Agreement was     signed); Page 12 (demanding fees based upon Docs. 82, 83, 85-88,

  118, all of which predate the Discovery Settlement Agreernent).

         113)    The culmination of these violations caused severe    harm to Pandora.

                 On November 10, 2021, the
         114)                                  Magistrate Judge assigned to the Litigation issued a

 Report & Recommendation suggesting default be entered against Pandora, finding that no lesser

  sanction was appropriate. Doc. 599.

         115)   The Magistrate's findings were, in pertinent part, based on Wyndham's improper

  advocacy of issues and matters barred by the Discovery Settlernent Agreement.

         116)   Notably, however, the Magistrate Judge recommended that expenses and fees

 related to Docs. 82, 85, 86, 87, 118 and 127 on the Federal Docket be excluded. Wyndham Vacation

  Ownership v. Slattery, Sobel & Decamp, 19-cv-1908, 2022 WL 8217011 at *5 (M.D. Fla. July 22,

 2022) (Kidd, M.J.).




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           117)    On January 18, 2022, the District Judge affirmed the Magistrate's Report &

  Recommendation "entirely." Doc. 689, Page 10.

           118)    In doing so, the Federal Court repeatedly referred to discovery problems that


  predated the Discovery Settlement Agreement which waived any violations. See e.g. Doc. 689,

  Page 5, citing Does. 82-1, 85-1, 86-1, 87-1, 88-1, 108.


           119)    The Federal Court also referred to discovery problems from 2019 to 2020 involving

  Intermarketing in its Ruling adopting the Report and Recommendation. Doc. 689, Page 7.

           120)    Defaults were entered against Pandora on January 19, 2022, striking Pandora's

  defenses and accepting all allegations in Wyndham's complaint as true. Doc. 689, Page 11, Docs.

  691, 692, 693, 694.

           121)     When the Discovery Settlement Agreement was                   discovered by Pandora's new

  counsel, Messrs. Bennett and Bradford, Pandora sought sanctions against Wyndham for violating

  the Discovery Settlement Agreement, including the vacatur of the default Doc. 799.3 Pandora filed

  this motion on May 26, 2022. Doc. 799.

           122)     The Magistrate Judge issued           a    Report and Recomrnendation (July 22, 2022)

  holding that the Court lacked jurisdiction to consider the Discovery Settlement Agreement. Doc.

  841, Page 9-12.

           123)     The Federal Court adopted the Report and Recommendation to the extent indicated,

  denying Pandora's Motion for Sanctions. Doc. 869 (Sept. 16, 2022).




  3
   In the briefing and Orders in the Litigation, the Discovery Settlement Agreement is referred to as the "Confidential
  Settlement Agreement," or "CSA."


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           124)   In doing so, the Federal Court ruled that there was   no   need to address jurisdiction

  over    the Discovery Settlement Agreernent, and therefore did not consider the agreement or

  construe its terms in the ruling. Doc. 869, Page 4-5.

           125)   Further, the Federal Court noted that the "fact that Plaintiffs agreed not to seek

  sanctions for such failures that occurred prior to October 5, 2020, does not restrict them frorn


  seeking sanctions for future violations even if related to discovery sought and not received prior

  to October 5, 2020." Wyndham Vacation Ownership v. Slattery, Sobel & Decamp, 19-cv-1908,

  2022 WL 4285897 at *2 (M.D. Fla. September 16, 2022) (Berger, D.J.).

           126)   For a default to be entered against a party, a federal court must engage in factfinding

  and legal analysis and conduct a hearing.


           127)   In the Litigation, the only factfinding and legal analysis performed by the Federal

  Court involved issues that were barred by the Discovery Settlement Agreement.

           128)   Although the Federal Court indicated in passing that it might have issued sanctions,

  even if Wyndharn had not argued matters that were      barred by the Discovery Settlement Agreement,

  such a claim is dicta, because the Magistrate did not engage in such analysis, and the Federal Court

  held that the Discovery Settlement Agreement was not before it. Importantly, as a legal matter it

  would not possible for the Federal Court to determine that Wyndham was entitled to the sanction

  of default, as opposed to a lesser sanction, if Wyndham had not repeatedly violated the Discovery

  Settlement Agreement.

           129)   Thus, Wyndharn's violation of the Discovery Settlement Agreement caused the

  Federal Court to enter a default against Pandora.

           130)   The default, as a matter of law, deerned all allegations in Wyndham's Complaint as

  true.




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              131)     The default procured by breach of the Discovery Settlement Agreement, caused

  consequential darnages to Pandora.

              132)    Further, the default caused by breach of the Discovery Settlement Agreement

  continues to cause consequential darnages to Pandora in the forrn of attorney fees and the potential

  for further judgment(s) or injunction(s) by the Federal Court.

              133)    The defaults and damages to Pandora       were   a   direct and proximate result of

  Wyndham's breaches of the Discovery Settlement Agreement.

              134)    Wyndham repeatedly and systematically breached the Discovery Settlement

  Agreernent.

              135)    Based upon Wyndham's submissions, the Report and Recommendation
                                                                                                resulting

  in the default repeatedly referred to acts that occurred prior to the signing of the
                                                                                       Discovery
  Settlement Agreernent.

              136)    For example, the Report and Recomrnendation referred to documents that were lost

  due to errors      by Pandora or its vendors. Doc. 599, Page 8, citing Doc 122-1.

              137)    The Report and Recommendation also referred to searches that should have been

  conducted starting in June 2020, months before the Discovery Settlement Agreement. Doc. 599,

  id. at 9.


              138)    In that   same   Report and Recommendation, the Federal Court relied upon

  Wyndham's complaints about numerous            discovery problems from 2019 through and August 27,

  2020, all rnonths prior to the Discovery Settlement Agreernent. Doc. 599, Page 10, citing Doc. 500

  at 20-21.


              139)    Further, the Report and Recommendation referred to numerous     Orders issued prior

 to the effective date of the Discovery Settlement Agreement. Doc. 599, Page 3, Paras            1   and 2




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           147)   After Pandora's counsel learned of the barred issues under the Discovery

  Settlement Agreement, and after the default was entered against Pandora, Pandora petitioned the

  Federal Court for relief from the default.

           148)   The Federal Court, however, declined to assert jurisdiction over enforcement of the

  Discovery Settlernent Agreement.

           149)   In fact, the Federal Court stated in its Report and Recommendation that "any

  alleged violation of the [Discovery Settlement Agreement] by [Wyndham] is just like a claim for

  a   violation of any other settlement agreement, which would be appropriately enforced in state

  court." Doc. 841, Pages 11-12. (Emphasis supplied.)

           150)   Further the Federal Court stated in its Report and Recommendation that if the

  Federal Court considered the Discovery Settlernent Agreement, that it should exclude numerous

  attorney fees, including those "expenses and fees related to Docs. 82, 85 86, 87, 88, 118, and 127."

  Doc. 841, Page 12,


           151)   Thus, the Federal Magistrate Judge has found that the majority of the attorney fees

  awarded against Pandora (listed in the preceding paragraph) were not awardable under the


  Discovery Settlement Agreement because Wyndharn had agreed not to seek sanctions as to activity

  perforrned prior to that date. Doc. 841, Page 12.

           152)   All conditions precedent to the maintenance of this action have occurred.

           153)   Pandora has retained the undersigned and other counsel and is obligated to pay a

  reasonable fee for their services.




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                               COUNT I     —
                                               BREACH OF CONTRACT

          154)    Pandora realleges and incorporates herein by reference each General Allegation

  above as if fully set forth herein.


          155)    Pandora and Wyndham entered into the Discovery Settlernent Agreement.

          156)    Pandora fully performed under the Discovery Settlement Agreernent.

          157)    Wyndham materially breached and defaulted under the Discovery Settlernent

  Agreement by failing to adhere to the duties and obligations imposed by Section 3, including by

  raising waived, settled and barred discovery violations in the Litigation to obtain a default against

  Pandora as to liability that was entered on January 19, 2022.


          158)    Wyndharn also materially breached under the Discovery Settlement Agreement by

  seeking and obtaining attorney fees based upon work performed, motions filed, and real or alleged

  discovery problems occurring prior to the effective date of the Discovery Settlement Agreement,

  which waived any such right to seek sanctions or fees.

          159)    Wyndham's misconduct in the Litigation prevented the Federal Court from fairly

  evaluating the sanctions request and assertions of prejudice; and prevented Pandora from fully and

  fairly presenting their case in the Litigation.

          160)    As a direct and proximate result of Wyndharn's rnaterial breaches of the Discovery

  Settlement Agreement and wrongful conduct, Pandora has been damaged by incurring attorneys'

  fees, costs, and expenses, and by incurring liability for a possible damages judgment that is to be

  entered by the Federal Court in the Litigation.


          161)    Any damages award in the Litigation is the proximate cause of the default. Even if

  the Federal Court Litigation would have proceeded to trial, Wyndham would not have obtained a


  damages award, because Wyndham would have dropped its claims to damages and elected to



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  proceed on equitable relief alone, as it did in the remaining portion of the trial in the Litigation

  against the Lawyer co-Defendants. Docs. 937, 939, 941, 943.

          162)   Because Wyndham clearly would have rnade the            same   routine rnove   in the

  Litigation against Pandora, any monetary judgrnent is directly and proximately caused by the

  default which resulted from Wyndham's breach of the Discovery Settlement Agreernent.

          163)    The default resulting from Wyndham's breaches of the Discovery Settlement

  Agreement also exposes Pandora to a potentially ruinous injunction, the harm from which also

  entitles Pandora to damages.

          164)    Further, Pandora waived approxirnately $200,000 of incurred attorney fees that it

  was   claiming as arising out of Wyndham's use of privileged docurnents, and which Wyndham

  instead resolved for a much lesser sum.

          165)    The Federal Court had already determined that Pandora was entitled to attorneys'

  fees from Wyndharn and had left determination of amount for negotiations or further proceedings.


          166)    Because Wyndharn did not perform its obligations under the Discovery Settlement

  Agreement, Pandora was damaged in the arnount of fees that it waived.

          167)    Pandora has also incurred attorney fee liability to Wyndham based upon the latter's

  improper inclusion of motions filed and work performed that predated the Discovery Settlement

  Agreernent.

          WHEREFORE, Plaintiffs dernand judgment against Defendants for damages, plus

  interest, costs and attorney fees pursuant to Section 9 of the Discovery Settlement Agreement, and

  all other relief that this Court deerns proper.




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                                                 VERIFICATION

                Under penalties of pedury, I declare that I have read the Verified Complaint for Breach of

        Contract, that I agree with the document, and that the facts stated therein are true.



                                                  Date:



                                                  Patrick A. Bradford, Esq.
                                                                              /
                                                  Date:    e          20,23.

                                                  William Wilson


                                                                        „202,
                                                  Date:




         (Verification made pursuant to Fla. Stat. § 92.525(2)see State v, Shearer, 628 So.2d l 102 (1993)
        ("In addition to a notarized oath such as the one in rule 3.987, however, section 92.525, Florida
        Statutes (1991), provides that a signed declaration can substitute for a notarized oath if it contains
        the following language: 'Under penalties of perjury,      declare that
                                                                  1               Ihave read the foregoing
         [document] and that the facts stated in it are true.))




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          Dated this 7th day of August, 2023.




                                                                                       Respectfully Submitted,


                                                                                        /s/Michael Paul Beltran
                                                                                        MICHAEL P BELTRAN
                                                                                        Fla. Bar No. 0093184
                                                                                        BELTRAN LITIGATION, P.A.
                                                                                        4920 West Cypress St.
                                                                                        Suite 104 PMB 5089
                                                                                        Tampa, Florida 33607
                                                                                        Phone: (813) 870-3073
                                                                                        Primary email: mike@beltranlitigation.com

                                                                                        Counsel for Plaintiffi


                                                                                        /s/ Eric B. Jontz
                                                                                        ERIC B. JONTZ
                                                                                        Florida Bar No. 64905
                                                                                        FISHBACK DOMINICK LLP
                                                                                        1947 Lee Road
                                                                                        Winter Park, Florida 32789-1834
                                                                                        Telephone: (407) 262-8400
                                                                                        Facsimile: (407) 262-8402
                                                                                        Primary email: ejontz@fishbacklaw.com
                                                                                        Secondary email: cgeorge@fishbacklaw.com

                                                                                        Counsel for Plaintiffs




 CG &TEM Eric Jontz\   -
                           Eric Jontz CLIENTSTandora Marketing, et al.   -
                                                                             Wyndhain P555-27470 \PANDORA\ Complaint drafts\Complaint   -
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               CONFIDENTIAL SETTLEMENT AGREEMENT AS TO FEE AWARD

            THIS CONFIDENTIAL SETTLEMENT AGREEMENT AS TO THE COURT'S
     OCTOBER 2, 2020 ORDER (DOC. 210) AND RELATED PEE AWARD only (the
     "Agreement") is entered into this 1st day of November, 2020 (the "Effective Date), by and
     between Wyndham Vacation Ownership, Inc., Wyndham Vacation Resorts, Inc., Wyndham
     Resort Development Corporation, Shell Vacations, LLC, SVC-West, LLC, SVC-Americana,
     LLC, and SVC-Hawaii, LLC (hereinafter collectively, "Wyndham"), and Pandora Marketing,
     LLC, Pandora Servicing, LLC, Rich Folk, and William Wilson (collectively Pandora
     Defendante) and Intermarketing Media, LLC ("Intermarketine) (Pandora Defendants and
     Intermarketing, together, the "Marketing Defendants") (Wyndham and the Marketing
     Defendants, individually, a "Party," or, collectively, the "Parties").

                                                RECITALS

            WHEREAS, Wyndham filed its Amended Complaint for Damages and Injunctive Relief
     (Doc. 36) in the United States District Court for the Middle District of Florida, styled Wyndham
     Vacation Ownership, Inc., et al v. Slattery, Sobel & Decamp, LLP, et al., Case No. 6:19-cv-
     01908 (the "Litigatioe) which asserted claims against the Marketing Defendants;

             WHEREAS, Wyndham filed its Motion for Sanctions against the Marketing Defendants
     and their Attorneys ("Sanctions Motion") (Doc. 132), seeking various sanctions against both the
     Marketing Defendants and their counsel;

             WHEREAS, following a hearing on the Sanctions Motion on September 17, 2020, the
     Court entered an Order on October 2, 2020 (Doc, 210) (the "Ordee), which provided, in relevant
     part, that Wyndham was ordered to pay the reasonable expenses, including attorney's fees, that
     the Marketing Defendants incurred in responding to Wyndham's Sanctions Motion. The Order
     further provided that the Parties were directed to meet and confer on this particular issue, and, if
     the Parties were unable to agree on the amount          of reasonable expenses, the Marketing
     Defendants were required to file a motion seeking such expenses on or before November 2,
     2020;

            WHEREAS, while the Order provided that the Sanctions Motion was stricken, Wyndham
                      refile its Sanctions Motion under certain conditions, as specified in the
     was granted leave to
     Order; and

            WHEREAS, the Parties now wish to enter into this Agreement to memorialize the terms
     and conditions upon which the Marketing Defendantsentitlement to reasonable fees and
     expenses, as contemplated by the Order, and Wyndhatn's entitlement to refile its Sanctions
     Motion, will both be fully resolved;

             NOW, THEREFORE, for and in consideration of the payments referenced herein, and
     other valuable consideration, received by each party from the other party, the receipt and
     sufficiency of which are hereby irrevocably acknowledged by all Parties hereto, the Parties
    hereby agree as follows:



                                                                                                            •
                                                                                                  EXHIBIT
                                                                                          4$



                                                                                         •
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                                       TERMS AND CONDITIONS

              1.      Recitals. The foregoing Recitals are true and correct and are incorporated herein
     as if fully set forth herein.


              2.    Settlement Compensation. As full and final settlement of any expenses,
     including any attorney's fees or costs, that the Marketing Defendants are or may be entitled to as
     contemplated by the Court's Order, Wyndham shall pay the total sum of Forty-Five Thousand
     Dollars ($45,000.00) (Settlement Amount") to the Marketing Defendants. The Settlement
     Amount shall be paid by check drafted by either Wyndham or its counsel, Shutts & Bowen, P.A.,
     and made payable to the 'Trust Account of Frank Sims & Stolper, LLP and in Trust for Pandora
     Marketing, LLC, Pandora Servicing, LLC, Rich Folk, William Wilson and Intermarketing
     Media, LLC." The Parties agree that Frank Sims & Stop ler, ',LP will hold such funds, jointly, in
     trust, for the Marketing Defendants. Wyndham or its counsel shall tender payment of the
     Settlement Amount to Frank Sims & Stolper, LLP c/o Andrew D.
                                                                       Stolper, Esq. 19800 Macarthur
     Boulevard, Suite 855, Irvine, CA 92612, within fourteen (14) business days of the full execution
     of this Agreement.

             3.     Waiver of Sanctions Motion. Wyndham agrees not to seek sanctions against the
     Marketing   Defendants  and/or their counsel in connection with any issues raised in and/or by the
     Sanctions Motion,   which  issues raised accrued on or prior to October 5, 2020. To be clear and
     avoid doubt, nothing herein shall prevent any Party from seeking discovery orders or other relief,
     including sanctions, attendant to matters not addressed in the previously filed Sanctions Motion
     and/or related to future discovery disputes between the Parties that relate to issues that accrued
     on or after October 5, 2020,


            4.       No Disqualification of Wyndham's Counsel. The Marketing Defendants
     stipulate and agree that they will not, at any point, including in the future, seek to disqualify
     Shutts& Bowen, LLP and/or any attorney of Shutts & Bowen, LLP based upon any alleged acts
     or omissions of Shutts & Bowen, LLP and its attorneys which accrued in this
                                                                                    Litigation prior to
     October 5, 2020. In particular, the Marketing Defendants stipulate and
                                                                                agree not to seek the
     disqualification of Shutts & Bowen, LLP or any of its attorneys based upon any alleged violation
     of the attorney-client privilege, Rule 26(b)(5)(B), the
                                                              partiesConfidentiality Agreement, or
     otherwise arising out of Shutts & Bowen, LLP or its
                                                           attorneys' review, handling, or knowledge
     of any alleged attorney-client privileged communications disclosed, revealed, or otherwise
     inadvertently produced by the Marketing Defendants in this Litigation prior to October 5, 2020.

            5.       Compliance with Destruction Obligations. The Parties further jointly represent
     and warrant that prior to the Court's October 7, 2020 deadline, Wyndham
                                                                                    complied with and
     certified compliance with its destniction of documents obligations, as required by the Order.

            6.      Continued Depositions of the Marketing Defendants.             The Marketing
    Defendants agree that, if requested by Wyndham, the depositions of Rich Folk, William
                                                                                           Wilson,
    and Jason Krieck shall continue at a mutually convenient date and tirne, with
                                                                                         Wyndham
    permitted to continue its examination so that Wyndham may have a total of seven (7) hours in
    total of questioning of each witness pursuant to the Federal Rules. This seven
                                                                                    (7) hours shall

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     include the time Wyndham has already used. For exarnple, if Wyndham has already questioned
     Mr. Folk for six (6) hours, then it may have an additional one (1) hoar to complete its
     questioning.

            7.     Marketing DefendantsCourt Notice. Upon full execution of this Agreement,
     the Marketing Defendants shall withdraw their Motion for Extension of Time to File Motion for
     Attorneys' Fees and Costs re: Order Denying Plaintiffs' Motion for Sanctions (Doc. 237) and
     further agree to subsequently file a notice with the Court, in the form attached hereto as Exhibit
     "A," advising the Court that the Parties complied with their meet and confer requirements, as
     mandated by the Order, and that the Marketing Defendants have opted not to file a motion
     seeking reasonable expenses and no further action by the Court or the Parties is needed or
     warranted in connection therewith.

             8.      Confidentiality. The Parties hereby warrant and agree, unless otherwise
     compelled by   law, not to disclose the Settlement Amount or any of the terms of this Agreement,
     publicly or to  any third party to this Agreement, without prior written consent of Wyndham or
     the Marketing Defendants. To the extent that any Party receives a civil subpoena (or other
     process) from any person or entity which seeks disclosure of the Settlement Amount or the terms
     of this Agreement, that Party shall, as soon as reasonably practicable under the circumstances,
     give written notice, in the manner required by Section 13 below, to all Parties identifying the
     information sought and the date by which it must be provided, as well as enclosing a copy of the
     subpoena or other process and shall provide all other Parties with an opportunity to object and
     intervene, as appropriate.

             9.     Remedies Available in Case of Breach. Each Party
                                                                             acknowledges and agrees
     that any actual or threatened violation or breach by any Party of its respective obligations under
     this Agreement may result in irreparable harm to the non-breaching Party for which remedies
     other than injunctive relief may be inadequate, and that the Parties shall be entitled to receive
     from a court of competent jurisdiction temporary or permanent injunctive or other
                                                                                              equitable
     relief to restrain any such violation in addition to other appropriate remedies without the
     necessity of proving damages or posting bond, which all Parties hereby waive. Further, in the
     event of a violation of this Agreement, Wyndham, in addition to injunctive and any other relief
     the Court may provide, shall be entitled to liquidated damages in the form of disgorgement, in an
     amount equal to the Settlement Amount. The Parties stipulate that the damages for breaching
     Section 8 of this Agreement are speculative and that liquidated damages are appropriate in this
     instance, and that the amount of liquidated damages set forth in this Agreement are reasonable.
     The Parties agree that the prevailing party in any litigation over an alleged breach of this
     Agreement shall also be entitled to recover their reasonable attorneys' fees and costs, including,
     without limitation, appellate and paralegal fees and costs.


              10.    Representations and Warranties. Each Party represents and warrants to the
     other Parties that it has the full authority to enter into and perform the terms of this Agreement,
     that it has read and reviewed the terms and conditions of this Agreement and fully understands
     same, that it has had the opportunity to consult with counsel of its choice regarding the terrns and
     conditions of this Agreement, and that by entering into this Agreement it intends to bind it.self by
     the terms and conditions hereof.

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             11.     Successors, Assigns. This Agreement shall be binding upon the Parties and their
     attorneys and shall inure to the benefit of, and be binding upon, their or its heirs, administrators,
     representatives, executors, successors, beneficiaries, assigns, agents, trustees, insurers, and any
     other persons acting by, through, or under any of the Parties hereto.

            12.     Entire Agreement/Amendments:

                    12,1 This Agreement, when executed by the Parties, is the entire agreement
            between the Parties with respect to the subject matter of this Agreement, and supersedes
            and cancels any and all prior and contemporaneous discussions, negotiations,
            arrangements, agreements, representations, and understanding between the Parties with
            respect to the subject matter of this Agreement; and

                    12.2 This Agreement may not be modified or otherwise amended except by a
            written instrument that expressly refers to this Agreement and is executed by the Party to
            this Agreement against whom such amendment is sought to be enforced; and

                    12.3 No Party or other person has made any oral or written
                                                                               representation, other
            than those explicitly set forth in this Agreement, upon which any Party is
                                                                                       relying on
            making their or its decision to enter into this Agreement.

            13,    Notice. Notice under this Agreement shall be delivered in the following manner:

                   If to Wyndham:

                   By certified mail and email to:
                   Alfred J. Bennington, Jr., Esq,
                   Glennys Ortega Rubin, Esq.
                   Shutts & Bowen, LLP
                   300 S. Orange Ave., Suite 1600
                   Orlando, Florida 32801
                   bbennington@shutts.com
                   grubin@shutts.com

                   with a copy to:

                   Office of the General Counsel
                   c/o Litigation
                   Wyndham Destinations, Inc,
                   6277 Sea Harbor Drive
                   Orlando, Florida 32821
                   ConsumerAffairs@wyn.com

                   If to Marketing Defendants:

                   Frank Sims Stolper
                   Andrew Stolper, Esq.

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                       Jon Parrott, Esq.
                       19800 MacArthurs Blvd.
                       Suite 855
                       astolper @ lawfs s. com
                       inarrott@lawfss.com

                To avoid doubt, any notice that is provided under this Agreement must be
     provided compliance with the requirements of this Section 13 to be deemed valid notice.
             in

             14.       Severability. If any provision of this Agreement is determined to be invalid,
     illegal,or    unenforceable, the remaining provisions of this Agreement shall remain in full force
     and effect.

             15.    NO Waiver. The failure of any Party to this Agreement to insist upon strict
     performance  of any obligation of the other Parties hereunder, irrespective of the length of time
     for which such failure continues, shall not be a waiver of the right to demand strict compliance in
     the future.

             16.      Headings. The headings used in this Agreement are for convenience only and
     shall not be used to interpret this Agreement.

            17.    Counterparts. This Agreement may be executed in multiple counterparts, each of
     which shall be deemed an original and all of which will constitute but one and the same
     instrument.

             18,    Binding Agreement. This Agreement is a legal and valid obligation binding upon
     the Parties, and their respective, agents, successors, assigns and/or affiliates and enforceable in
     accordance with its terms. The Parties warrant that execution, delivery, and performance of this
     Agreement by each Party does not conflict with any agreement, instrument, or understanding,
     oral or written, to which it is a party or by which it may be bound, nor violate any material law or
     regulation of any court,

            19.    joint Drafting. The Parties agree that any ambiguity in this Agreement is not to
    be constued against any Party to this Agreement on the grounds that such Party drafted the
    Agreement, but shall be construed as if all Parties jointly prepared this Agreement, and any
    uncertainty or ambiguity shall not on that ground be interpreted against any one Party. Any prior
    drafts of this Agreement shall not be used to determine the intent of the Parties to this
    Agreement.

            20.     Governing Law and Venue for Dispute Resolution. This Agreement shall be
    governed, construed, and enforced in accordance with the laws of the State of Florida without
    regard to the conflicts of laws rules of such state. Venue for any dispute resolution or litigation
    shall be in the federal courts located in Florida or California, depending on where the Litigation
    is currently pending. Once the Litigation ends or if it is no longer pending, the Parties agree that
    any dispute arising under this Agreement shall be before a single arbitrator and shall be
    arbitrated through JAMS in Orlando, Florida, with the understanding that any depositions and/or
    hearing shall take place remotely and via video-conference, using Zoom or a similar platform.


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            IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first
     written above.




                                         RICH FOLK, INDIVIDUALLY
                                          (7tiegkatay.

                                         WILLIAM WILSON, INDIVIDUALLY



                                         PANDORA MARKETING, LLC



                                         By:,
                                         Pandora Marketing, LLC
                                                                     as authorized signatory for




                                         PANDORA SERVICING, LLC


                                         By:
                                                                     as authorized signatory for
                                         Pandora Servicing, LLC




                                         INTERMARKETING MEDIA, LLC


                                         By:
                                                                     as authorized signatory for

                                         Intermarketing Media, LLC




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    WYNDHAM VACATION OWNERSHIP, INC.

    By:
          ,a4f,
    Name: Ryan Morettini

    Title: Group Vice President               -

                                                  Legal

     Date: 11/2/2020

    WYNDHAM VACATION RESORTS, INC.

                    7/1049st&-;fie:

    Name:    Ryan Morettini

    Title: Group Vice President Legal
                                      -




    Date: 11/2/2020



    WYNDHAM RESORT DEVELOPMENT CORPORATION

    By:             71104-4114;z4:
          /,14z.,
    Name:    Ryan Morettini

    Title:   Group Vice President                 -


                                                      Legal

    Date: 11/2/2020



    SHELL VACATIONS, LLC

    By:             7174,4,41t&;z‘;

    Name:    Ryan Morettini

    Title: Group vice president           -

                                                  Legal

    Date: 11/2/2020




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     SVC-AMERICANA, LLC

     By:
           r       70/04.4t&;,a

     Name:     Ryan Morettini

     Title: Group Vice President Legal
                                    -




     Date: 11/2/2020



     SVC-RAWAII, LLC

     By:

    Name:
           r        7,1494.4e&;u:

               Ryan Morettini

     Title: Group Vice President    -



                                        Legal

           11/2/2020




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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                           Orlando Division
                                  Case No.: 6:19-cv-1908-WWB-EJK


     WYNDHAM VACATION OWNERSHIP, INC. a
    Delaware corporation; WYNDHAM VACATION
    RESORTS, INC., a Delaware corporation,
    WYNDHAM         RESORT     DEVELOPMENT
     CORPORATION; a Oregon Corporation; SHELL
     VACATIONS, LLC, an Arizona limited liability
     company; SVC-AMERICANA, LLC, an Arizona
     limited liability company; and SVC-HAWAII,
     LLC, a Hawaii limited liability company,               MARKETING DEFENDANTS'
                                                          NOTICE OF COMPLAINCE WITH
           Plaintiffs,                                    TIT'S COURT'S ORDER [DE 2101

    v.



    SLATTERY, SOBEL & DECAMP, LLP, a
    California limited liability partnership; DEL
    MAR LAW GROUP, LLP, a California limited
    liability partnership; CARLSBAD LAW GROUP,
    LLP, a California limited likility partnership; IL
    'SEANSLATTERY, an individual and resident
    of the State of California; PANDORA
    MARKETING,            LLC     f/k/a     Timeshare
    Compliance, LLC d/b/a Timeshare Compliance
    and d/b/a timeshareexitcompanies.com and d/b/a
    timesharecancellationreviews.com, a Wyoming
    limited     liability   company;        PANDORA
    SERVICENG, LLC, a Wyoming limited liability
    company; lNTERMARKETING MEDIA, LLC
    d/b/a Resort Advisory Group, a Wyoming limited
    liability company; KENNETH EDDY a/k/a Ken
    Eddy, an individual and resident of the State of
    Oregon; RICH FOLK, an individual and resident
    of the State of California; and WILLIAM
    WILSON a/k/a James Wilson a/k/a Bo Wilson, an
    individual and resident of the State of California;

           Defendants.




                                                                              Exhibit A
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             Pandora Marketing, Ll,C, Pandora Servicing, LLC, Rich Folk, William Wilson, and

     1ntermarketing Media, LLC (the "Marketing Defendante) hereby provide notice to this Court

     that the Marketing Defendants and Plaintiffs have complied with their meet and confer


     requirements, as mandated by this Court's Order [DE 210]. As a result of the meet and confer,

     the Parties have resolution with each other and no further intervention of the Court is required.

            Dated: November 2, 2020




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                                                    Attorneys for Interrnarketing Media d/b/a
                                                    Resort Advisory Group




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                                           EXHIBIT 2
                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                         Orlando Division
                                Case No.: 6:19-cv-1908-WWB-EJK



   WYNDHAM VACATION OWNERSHIP, INC.
   a     Delaware       corporation;   WYNDHAM
   VACATION RESORTS, INC., a Delaware
   corporation,         WYNDHAM           RESORT
   DEVELOPMENT CORPORATION; a Oregon
   Corporation; SHELL VACATIONS, LLC, an
   Arizona limited       liability company; SVC-             STIPULATED CONFIDENTIALITY
   AMERICANA, LLC, an Arizona limited liability                      AGREEMENT
   company; and SVC-HAWAII, LLC, a Hawaii
   limited liability company,

           Plaintiffs,

   v.


   SLATTERY, SOBEL & DECAMP, LLP, a
   California limited liability partnership; DEL
   MAR LAW GROUP, LLP, a California limited
   liability partnership; CARLSBAD LAW GROUP,
   LLP, a California limited liability partnership; JL
   'SEANSLATTERY, an individual and resident
   of the State of California; PANDORA
   MARKETING,      LLC      f/k/a   Tirneshare
   Compliance, LLC d/b/a Timeshare Compliance
   and d/b/a timeshareexitcompanies.com and d/b/a
   timesharecancellationreviews.com, a Wyoming
   limited     liability    company;       PANDORA
   SERVICING,      LLC,  a
                            Wyoming    limited  liability
   company; INTERMARKETING MEDIA, LLC
   d/b/a Resort Advisory Group, a Wyoming limited
   liability company; KENNETH EDDY a/k/a Ken
   Eddy, an individual and resident of the State of
   Oregon; RICH FOLK, an individual and resident
   of the State of California; and WILLIAM
   WILSON a/k/a James Wilson a/k/a Bo Wilson, an
   individual and resident of the State of California,
                           Defendants.




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                                                                                           EXHIBIT
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                                            EXHIBIT A
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                               by, or at the direction of, counsel for the purpose of advising and assisting

                               such counsel in the preparation or trial of the case, provided that the

                               procedures of Section 6 are strictly followed; and

                  vi.          Other persons agreed to in writing by the Parties which consent shall not

                               be unreasonably withheld.

            b.          Agreement: This Stipulated Confidentiality Agreement.

            c.          Confidentiality Agreement: The form attached hereto as Exhibit A to which the

  persons identified in subsections 1(a)(v) and 1(1)(iv), (vii) of this Agreement must agree and sign

  before being disclosed any Confidential Information.

            d.          Confidential Information: Any type or classification of information in any of the

  Subject        Discovery       Material     which     is        designated   as   "CONFIDENTIAL"        or


  "CONFIDENTIAL:              ATTORNEYSEYES             ONLY" by any Party.

            e.          Counsel of Record: Attorneys who are not ernployees of a Party to this Litigation

  but are retained to represent or advise a Party to this Litigation and have appeared in this

  Litigation on behalf of that Party and their necessary support personnel, including individuals

  employed at the same law firm and personnel associated with any outside service providers used
  to assist in litigation who are providing active assistance with this Litigation, including jury or

  trial consulting services retained by counsel for a Party,

            f.          Designating Party: A Party      or       non-Party that designates Subject Discovery

  Material as Confidential Information.

            g.          Expert: A person with specialized knowledge or experience in a rnatter pertinent

  to the Litigation who:

                   i.          Has been retained by a Party or its counsel to serve as an expert witness or

                               as a consultant in this Litigation;


                               Is not a current employee of a Party; and

                               At the time of retention, is not anticipated to becorne an employee of a

                               Party.



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            h.          Litigation: The above-captioned rnatter of Wyndham Vacation Ownership, Inc. et
  al. v. Slattery, Sobel & Decamp, LLP, et al., Middle District of Florida Case No. Case No.: 6:19-

  cv-   1908-WWB-EJK.

            i.          Producing Party: A Party or non-Party (whether singular or plural) who produces

  Subject Discovery Material that contains Confidential Information.

            j.          Receiving Party: A Party or non-Party (whether singular or plural) who receives

  Subject Discovery Material that contains Confidential Information.

            k.          Subject Discovery Material: All documents and information produced or to be

  produced by any Party or third Party in connection with this Litigation, including documents and

  things produced or to be produced, any answers                    to interrogatories, responses to requests for

  admission, entry upon land for inspection or other purposes, oral, audio and/or visual recordings

  (including microfilm and computer                source   and/or object code), and deposition and other

  testimony disclosed through discovery in this case. Subject Discovery Material does not include

  documents, information, or evidence developed by any Party through independent investigative

  efforts or outside the discovery process in connection with the Litigation.

            1.          Qualified Person: Person entitled to receive Confidential Information designated

  as    "CONFIDENTIAL," which is limited to the following persons:
                   i.          The Court and its personnel;

                               Counsel of Record in this Litigation;

                               The Parties in the Litigation and their respective in-house counsel;

                 iv.           Experts and consultants (and their necessary support personnel) retained

                               by, or at the direction of, counsel for the purpose of advising and assisting

                               such counsel in the preparation          or   trial of the case, provided that the

                              procedures of Section 6 are strictly followed;

                 v.            Court   reporters     taking       testimony involving    such   information   and

                               supporting stenographic, videographic, and clerical personnel;

                 vi.           Interpreters or translators retained by counsel for the purpose of the case;



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              vii.           To the extent not otherwise captured by subsections 1(1)(i) through (vi) of

                             this   Agreernent,     a   testifying   witness/deponent    or   a   potential

                             witness/deponent (as limited by subsection 7(g)(i) of this Agreement)

                             provided that such individuals execute        a    Confidentiality Agreement
                             attached hereto   as   Exhibit A prior to the disclosure of any Subject

                             Discovery Material marked Confidential to such persons which the

                             Receiving Party shall provide to the applicable Designating Party no later
                             than the deadline for disclosure of witness lists prior to trial in this

                             Litigation; and
              viii.          Other persons agreed to in writing by the Parties which consent shall not

                             be unreasonably withheld.

  2.     SCOPE

         a.           This Agreement governs all Subject Discovery Material.

         b.           No Receiving Party hereunder shall use the Confidential Information for any

  purpose other than this Litigation, or in connection with any similar matter, including without

  limitation, any bankruptcy proceeding involving one of the Parties.
         c.           This Agreement is intended to facilitate the flow of discovery materials and to

  expedite the resolution of discovery disputes among the parties.

         d.           This Agreement shall not raise any inference nor constitute any evidence of the

  existence of any trade secrets or Confidential Information. Moreover, the consent of any Party to

  the Agreement shall not constitute any admission as to the existence of any trade secrets              or


  Confidential Information in connection with any Subject Discovery Material produced or

  disclosed in this proceeding.

         e.           Nothing in this Agreement shall preclude or impede Counsel of Record's ability
  to comrnunicate with or advise their clients or decision makers for such clients based on outside

  counsel's review and evaluation of "CONFIDENTIAL:                     ATTORNEYSEYES             ONLY"

  information produced by the opposing Party. Counsel of Record may discuss with the employees



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  and officers of such clients who have responsibility for managing the lawsuit, or those persons

  who have responsibility for making decisions about possible settlement of the Litigation, the

  general nature of the "CONFIDENTIAL:             ATTORNEYSEYES              ONLY" information without

  disclosing the specifics of any such information, to the extent such disclosure is necessary for

  effectively advising such clients and their decision makers.
                i.          Consistent with the intent of the Parties to keep sensitive information

                            confidential,   and   the    requirements of sub-section         1(a)(vi) of this

                            Agreement that the Designating Party's consent rnust be obtained in

                            writing before "CONFIDENTIAL:                 ATTORNEYS'         EYES ONLY"

                             information may be disclosed to individuals not otherwise included arnong

                            those individuals enumerated in sub-sections 1(a)(i-v) of this Agreement,

                            unless required by law or otherwise cornpelled to do so by any court or

                            competent jurisdiction, no Party may disclose the general nature of the

                            "CONFIDENTIAL:              ATTORNEYS'        EYES ONLY"          information   as


                            cornmunicated by Counsel of Record pursuant to the sub-section 2(e) of

                            this Agreement to any third-party for           reasons      unconnected to this

                            Litigation.
  3.     DURATION

         a.          Even after the final disposition of this Litigation, the confidentiality obligations

  imposed by this Agreement shall remain in effect until a Designating Party agrees otherwise in

  writing or a Court order otherwise directs.
         b.          Final disposition, as used in this Agreement, shall be the later of:

                i.          Dismissal of the last of the claims and defenses in this Litigation as to any

                            Party, with or without prejudice; or

                            The entry of final judgment, and the completion and exhaustion of all

                            appeals, rehearings, remands, trials,    or   reviews for any Party, claim or

                            defense in this Litigation.      This includes the time limits for filing any



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                           rnotions or applications for extension of tirne pursuant to applicable law.

  4.      DESIGNATION OF SUBJECT DISCOVERY MATERIAL
          a.         Whenever the Designating Party determines that a disclosure of the Subject

  Discovery Material will reveal matters that such Party believes in good faith constitute or contain
  the private financial information of third-parties, trade secrets, confidential research or future

  expansion plans of a Party,          or    other confidential internal business information, including

  confidential sensitive financial inforrnation, relating to its, his, or her business, such Party has the

  right to designate such information as "CONFIDENTIAL". In the event that the Designating

  Party discovers documents or information which do not fall within the categories set forth above,
  but which     the     Designating     Party     in        good   faith    believes     should   be   designated   as


  "CONFIDENTIAL", then that Party shall contact the attorneys for the other Parties in this

  Litigation and request their agreement that said documents or inforrnation may be designated
  "CONFIDENTIAL". In the event the parties cannot reach an agreernent, then the Designating

  Party may request that the Court enter a protective order as to that document or information.

                i.         In the    case    of written information, this designation must be made by

                           marking the page            or    pages where such Confidential Information is

                           contained, "CONFIDENTIAL"                       or   its equivalent,   either prior to its

                           disclosure to the Receiving Party or at the time a copy(ies) of such written

                           information is provided to the Receiving Party.

                           In the case of oral, audio, and/or visual recording information (including

                           microfilm and computer source and/or object code), this designation must

                           be made by marking the recording mediurn "CONFIDENTIAL"                             either

                           prior to its disclosure to the Receiving Party, or at the time a copy(ies) of
                           such information is provided to the Receiving Party.

                           Where Confidential Information is produced on electronic media, such as

                           a CD,    diskette, tape, USB storage device or hard drive, the marking of the

                           electronic media as "CONFIDENTIAL"                          shall be deemed sufficient to



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                            identify the contents as "CONFIDENTIAL."
               iv.          In the case of documents produced electronically, regardless of whether an

                            applicable document type is referenced in sub-section (i) through (iii) of

                            this paragraph, Parties shall provide for such docurnent a load file (or

                            equivalent) with a separate field populated with "CONFIDENTIAL",

                            either prior to its disclosure to the Receiving Party or at the time               a


                            copy(ies) of such information is provided to the Receiving Party. Stating
                            that a document is "CONFIDENTIAL"                   in a transmittal correspondence

                            (regardless of whether by e-mail, physical letter, or any other form) shall

                            be insufficient to designate such information as "CONFIDENTIAL".

               v.           In the case of native documents produced electronically, in addition to the

                            requirements referenced in subsection (iv) of this paragraph and regardless

                            of whether an applicable document type is referenced in sub-section (i)

                            through (iii) of this paragraph, parties shall produce such documents

                            without alteration.

          b.         When the Designating Party has good reason           to believe that disclosure of certain

  Subject Discovery Material covered by Paragraph 4(a) above should be limited to counsel for the

  Receiving Party, and specifically only those Attorney Recipients identified in Section 1(a) of this

  Agreement, because of its uniquely sensitive nature, which due to its sensitive nature is, in the

  good faith judgment of the Designating Party, at greater risk of improper dissernination or use,

  the   Designating      Party has     the    right   to    designate    such    Confidential   Information   as


  "CONFIDENTIAL:           ATTORNEYSEYES                   ONLY."

                i.          In the   case    of written inforrnation, this designation must be made by

                            marking the page or pages wherein such Confidential Information                   is

                            contained, "CONFIDENTIAL:                 ATTORNEYS'        EYES ONLY"       or   its

                            equivalent, either prior to its disclosure to the Receiving Party or at the

                            tirne a copy(ies) of such written inforrnation is provided to the Receiving



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                    Party.

                    In the case of oral, audio and/or visual recording inforrnation (including

                    microfilm and computer source      and/or object code), this designation must

                    be   made    by   marking the recording        medium "CONFIDENTIAL:

                    ATTORNEYSEYES               ONLY"       either prior to its disclosure to the

                    Receiving Party or at the time a copy(ies) of such information is provided

                    to the Receiving Party.

                    Where Confidential Information is produced on electronic media, such as

                    a CD,    diskette, tape, USB storage device or hard drive, the marking of the

                    electronic media as "CONFIDENTIAL:             ATTORNEYS' EYES ONLY"

                  11.Shti1rbe .dedit&I sufficient to identify the contents as "CONFIDENTIAL:

                    ATTORNEYS' EYES ONLY."

            iv.     In the case of documents produced electronically, regardless of whether an

                    applicable document type is referenced in sub-section (i) through (iii) of

                    this paragraph, Parties shall provide for such document a load file (or

                    equivalent) with    a   separate field populated    with "CONFIDENTIAL:

                    ATTORNEYS'          EYES ONLY", either prior to its disclosure to the

                    Receiving Party or at the time a copy(ies) of such information is provided

                    to the Receiving Party. Stating that a docurnent is "CONFIDENTIAL:

                    ATTORNEYS'           EYES       ONLY"     in   a   transmittal   correspondence

                    (regardless of whether by e-mail, physical letter, or any other form) shall

                    be   insufficient to designate such information        as   "CONFIDENTIAL:
                    ATTORNEYS' EYES ONLY".

            v.      In the case of native docuinents produced electronically, in addition to the

                    requirements referenced in subsection (iv) of this paragraph and regardless
                    of whether an applicable docurnent type is referenced in sub-section (i)

                    through (iii) of this paragraph, Parties shall produce such documents



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                            without alteration.
            c.       In the case of any response to a discovery request, the response to which discloses

   or   contains any Confidential Information, the designation of Confidential Information shall be

   rnade by rneans    of a statement in the responses specifying the responses, or the specific
                                                                                                parts

   thereof, that shall be treated as Confidential Information and/or specifying that such information

   is being produced pursuant to this Agreement.

            d.       In the case of a deposition or other testimony, testimony containing Confidential

   Information     shall   be     designated        either    "CONFIDENTIAL"                or    "CONFIDENTIAL:
   ATTORNEYSEYES                 ONLY," either at the time of the testimony or within seven              (7) calendar

   days of the receipt of the written transcript.

                           r)iBefore the tithe to make such                  a   de'signhtionhasdexpired, neither the

                            transcript       nor   the contents         or   substance of the deposition     or    other

                            testimony rnay be disclosed by the non-Designating Party to persons other

                            than Attorney Recipients               or   the deponent, unless otherwise agreed in

                            writing.
                            At any time during the taking of a deposition on oral examination, counsel

                            for the Designating Party may state that a particular line of questioning

                            should      be     treated   as   "CONFIDENTIAL"                 or   "CONFIDENTIAL:
                            ATTORNEYS' EYES ONLY," as in the case of written disclosures of

                            information covered by subsections (a) and (b) above. Counsel for the

                            Parties shall then determine whether the depositions should be carried out

                            with one     or more    of the following conditions:
                                       The reporter may be instructed to transcribe the
                            1.
                                                                                        questions and
                                       answers     separate frorn the transcript for the remainder                of the

                                      deposition, which pages shall be marked as described in either

                                      subsections (a) or (b) above.

                            2.        During any time that the line of questioning involving Confidential



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                                            Information: AttorneysEyes Only is being followed, anyone who

                                            is   not   an   Attorney Recipient and all representatives of the

                                            Receiving Party other than counsel and outside experts may be

                                            excluded from the deposition.

                                  3.        Any other conditions mutually agreeable to the parties to protect
                                            the confidential status of the information.

                e.          Inadvertent failure to designate Subject Discovery Material             as   Confidential

         Information pursuant to this Agreement shall not constitute a waiver of any otherwise valid claim

         for protection, provided that the provisions of this paragraph are satisfied.

                       i.         If the Designating Party discovers that information should have been but
.t.                               was     not designated     as   Confidential anformation, the Designating Party

                                  must immediately notify all other parties.

                                  In such event, within five (5) days of discovering the lack of designation

                                  on    the Subject Discovery Material, the Designating Party must provide

                                  copies     of the Confidential Information containing the appropriate

                                  designation in accordance with this Agreement.

                                  After receipt of such designations, the newly designated Confidential

                                  Information shall be treated as required by this Agreement. No party shall

                                  have any liability, under this Agreement or otherwise, for any disclosure

                                  of inforrnation contained in Subject Discovery Material that occurring

                                  before the Receiving Party was            placed   on   notice of the Designating

                                  Party's claims of confidentiality.

                      iv.         Upon receiving notice from a Designating Party that Subject Discovery
                                  Materials already produced without any designation should have contained

                                  a    designation as Confidential Information, the Receiving Party shall have

                                  the right to challenge such designation, if appropriate, using the procedure

                                  set forth in this Agreement.




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   5,        CHALLENGES TO CONFIDENTIALITY DESIGNATIONS

             a.     No Party is obligated to challenge the propriety of any Subject Discovery Material

   designated as Confidential Information, and a failure to do so shall not preclude a subsequent

   attack on the propriety of the designation.

             b.     If the Receiving Party disagrees with a designation of any Subject Discovery

   Material as being Confidential Information, the Receiving Party may, after a good faith conferral

   conducted in accordance with Middle District of Florida Local Rule 3.01(g), challenge the

   designation made by the Designating Party by filing a motion with the Court pursuant to Federal
   Rule of Civil Procedure 37.       Such motion may seek any sanction or other appropriate relief

   authorized under Rule 37 in conjunction with such a motion.

             c.     In any challenge to a designation of Confidential Information,the burden of proof

   shall rest with the Designating Party to prove that such that the Subject Discovery Material either

   requires protection frorn public disclosure, or should otherwise be limited in accordance with the

   designation made by the Designating Party.
             d.     Subject Discovery Material designated as Confidential Information shall rernain

   protected under this Agreement until the Court resolves any dispute regarding the propriety or
   the designation at issue.

             e.     The parties will not designate as Confidential Information any Subject Discovery

   Material that they have reason    to believe, or should have reason to believe, was generally known

   or   readily available to the public prior to its designation, or that any Party has developed through
   its own investigative efforts outside the discovery process.

   6.       EXPERTS OR CONSULTANTS

            a.      Confidential Information and such copies of Confidential Information as          are


   reasonably necessary for maintaining, defending or evaluating this Litigation may be furnished
   and disclosed to the Receiving Party's Experts          or    consultants and their necessary support

   personnel as both Qualified Person(s) and Attorney Recipient(s).
            b.      No disclosure of Confidential Information to an Expert or consultant or their



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   necessary support personnel shall           occur        until that person       has    signed the Confidentiality

   Agreement attached hereto as Exhibit A.
   7.     ACCESS TO AND USE OF CONFIDENTIAL INFORMATION

           a.         Absent an agreement of the Parties                or    an   order of the Court, any Subject

   Discovery Material that has been designated by any Party                           as    comprising   or   containing
   Confidential Information pursuant to Paragraph 4(a), (b), (c) or (d) of this Agreement may only

   be filed with the Court according to the procedures enumerated in sub-sections 7(b)(i)-(ii) or

   7(d)(i)-(ii) of this Agreement.
           b.         The Parties shall conform to the following filing procedures:

                 i.          A Receiving Party that intends to file Subject Discovery Material

                             containing Confidential Information with the Court shall first file a motion
                             to seal, pursuant to       Rule 1.09 of the Local Rules for the United States

                             District Court, Middle District of Florida (a "Motion to Seal"), seeking

                             leave to file the relevant Subject Discovery Material under seal.

                             a.      By designating Subject Discovery Material                     as    comprising   or


                                     containing Confidential Information pursuant to Paragraph 4(a),

                                     (b), (c) or (d) above, the Designating Party consents to the filing of

                                     such Subject Discovery Material under seal and any Motion to Seal

                                     filed pursuant to sub-section 7(b)(i) of this Agreement may

                                     represent such consent.

                             b.      The Designating Party may provide the Receiving Party with

                                     explanation of the why relevant Subject Discovery Material

                                     cornprises        or    contains        Confidential    Information      and   such

                                     explanation may be included verbatim in a Motion to Seal, in

                                     which case the Motion to Seal shall be titled "Joint Motion to Seal"

                                     and   include signature of the Designating Party's Counsel of

                                     Record.




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                ii.          To the extent that the Court denies any Motion to Seal made pursuant to

                             sub-section 7(b)(i), the Designating Party shall have three (3) business

                             days frorn entry of such a denial to file a rnotion for protective order (a

                             "Protective Order Motion") requesting that the Court perrnit the relevant

                             Subject Discovery Material to be filed under seal. Failure to file such a

                             Protective Order Motion with the Court within the time period stated

                             herein shall result in a waiver of any designation made pursuant to this

                             Agreement      as   to the relevant Subject Discovery Material            and   the

                             Receiving Party's use of the relevant Subject Discovery Material shall not
                             be restricted by this Agreement. The Court's denial of the Protective Order

                             Motion's request that the relevant Subject Discovery Material be filed

                             under   seal   shall   result in removal       of the relevant confidentiality

                             designation and the Receiving Party's            use   of the relevant Subject

                             Discovery Material shall not be restricted by this Agreement.
           c.         Notwithstanding sub-sections 7(b)(i)-(ii) of this Agreement, any designation made

   pursuant to this Agreement remains in effect until the Court rules on            a   timely Protective Order
   Motion filed pursuant to sub-section 7(b)(ii) or the Designating Party fails to timely file such

   Protective Order Motion regardless of the date that a Receiving Party intends to submit the

   Subject Discovery Material to the Court.

           d.         Nothing in this Agreement shall prevent           a   Receiving Party from filing        a


   placeholder exhibit in lieu of the relevant Confidential Information or redacting excerpts of such
   Confidential Information included in any rnotion, memorandum, or other subrnission to the Court

   (a "Provisional Filine) pending resolution of a Motion to Seal or Protective Order Motion made

   pursuant to sub-sections 7(b)(i) or (ii) of this Agreement.

                 i.          To the extent that the Court grants a Motion to Seal or Protective Order

                             Motion filed pursuant to sub-sections 7(b)(i) or (ii) after a Receiving Party

                             files a Provisional Filing, and absent further direction of the Court in



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                               regard to re-filing the relevant Subject Discovery Material under seal, the

                               Designating Party shall consent to the Receiving Party filing a motion to

                               supplement the Provisional Filing with an unredacted copy of the Subject

                               Discovery Material under seal.
                               To the extent the Court denies         a   Protective Order Motion after the

                               Receiving Party files a Provisional Filing, or the Designating Party fails to

                               timely file such a motion under sub-section 7(b)(ii) after the Receiving
                               Party files a Provisional Filing, and absent further direction of the Court in

                               regard    to    re-filing the relevant     Subject   Discovery     Material,   the

                               Designating Party shall consent to the Receiving Party filing a motion to

                               supplement the Provisional Filing with an unredacted copy of the relevant

                               Subject Discovery Material.

            e.         To the extent that any Party wishes to extend any filing deadline while the Court

   adjudicates a Motion to Seal or Protective Order Motion made pursuant to sub-sections 7(b)(i) or

   (ii) of this Agreement, the Parties agree that any Party may file a motion for extension of time in

   regard to the applicable filing deadline ("Extension Motion") requesting that such deadline be
   extended to three (3) business days after the Court rules on           a Motion to   Seal or Protective Order

   Motion made pursuant to sub-sections 7(b)(i) or (ii) of this Agreement. Such Extension Motion

   shall have the consent of the other Parties if:

                  i.          The moving Party files the Extension Motion prior to the applicable

                               deadline; and

                              The       moving    Party   has   otherwise    complied     with   all   applicable

                              requirements of section 7 of this Agreement.

            f.         If any non-Designating Party's counsel intends to use at trial, or for the purpose of

   any public hearing with the Court, any documents, interrogatory answers, deposition testimony,

   or   other discovery responses which have been designated as Confidential Information, he/she/it

   shall so advise Designating Party's counsel prior to such intended use, and counsel for all parties




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   shall confer in an effort to agree upon a procedure to maintain the confidentiality of such

   Confidential Information. If no agreement is reached, counsel for the Party seeking to use the

   Confidential Information shall file an appropriate motion with the Court seeking a determination

   as   to the permissible use   of the Confidential Inforrnation. To the extent that the Court denies any
   such motion on grounds that there is insufficient basis to determine that the materials should be

   treated as confidential, the Designating Party shall have three (3) business days from notice

   (made pursuant to paragraph 10(i) below) of such an order to file a motion for protective order

   consistent with paragraph 7(b)(ii) of this Agreernent. Denial of any such rnotion for protective

   order or the Designating Party's failure to file such a motion shall result in removal of the

   relevant confidentiality designation and the non-Designating Party's use of the relevant Subject

   Discovery Material shall not be restricted by this Agreernent.

             g.     All Subject Discovery Material that has been designated by any other Party as

   containing or comprising Confidential Information pursuant to Paragraph 4(a) of this Agreement

   (i.e., "CONFIDENTIAL") must be retained by Counsel of Record for the Receiving Party and

   must not be furnished, shown, or disclosed by such counsel to any other person, except that, and

   solely for the purposes of this action, any such Confidential Information may be disclosed by
   counsel to "Qualified Persons."

                            Notwithstanding any other provision of this Agreement, to the extent an
                            individual rnay be considered a Qualified Person solely because such

                            individual is a potential witness or deponent under subsection 1(1)(vii) of

                            this Agreement, the Parties rnay only disclose Subject Discovery Material

                            that has been designated by any other Party as containing or comprising

                            Confidential Information pursuant to Paragraph 4(a) of this Agreement to

                            such Qualified Person if: (a) such Qualified Person was the original author

                            or   recipient of the applicable Subject Discovery Material; and (b) the

                            Receiving Party wishing to disclose the applicable Subject Discovery

                            Material provides to the applicable Designating Party the identity (which



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                         shall include narne, current    mailing address, and relationship      to   the

                         Parties) of such Qualified Person at the tirne that such Receiving Party

                         provides to the applicable Designating Party a Confidentiality Agreement

                         executed   by the applicable    Qualified Person pursuant to subsection

                         1(1)(vii) of this Agreement.

                         Notwithstanding the provisions of the preceding paragraph, a Party may

                         request to disclose Subject Discovery Material that has been designated by

                         any other Party   as   containing or comprising Confidential Information

                         pursuant to Paragraph 4(a) of this Agreernent to potential witnesses         or


                         deponents who are not the original author or recipient of the applicable

                         Subject Discovery Material if such potential witnesses         or
                                                                                             deponents
                         execute a Confidentiality Agreement pursuant to subsection 1(1)(vii) of

                         this Agreement and consent shall not be unreasonably withheld. If consent

                         is granted, the Receiving Party shall   provide to the Designating Party the

                         identity of such potential witnesses     or
                                                                       deponents consistent with the

                         provisions of the preceding paragraph. Should consent be withheld, the
                         Parties agree to submit such dispute to the Court for adjudication pursuant

                         to the Court's Standing Order on Discovery Motions dated January 3,

                         2020 [Doc. No. 40] and any subsequent amendments thereto, and prior to

                         the disclosure of the applicable Subject Discovery Material.

            h.    All Subject Discovery Material that has been designated by any Party               as


   comprising or containing Confidential Information pursuant to Paragraph 4(b) of this Agreement

   (i.e.   "CONFIDENTIAL:     ATTORNEYSEYES             ONLY") must be retained by Counsel of
   Record for the Receiving Party and must not be furnished, shown or disclosed by such counsel to

   any other person, except that, and solely for the purposes of this action, any such Confidential

   Information may be disclosed by counsel to Attorney Recipients.




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   8.        DISCLOSURE OF CONFIDENTIAL INFORMATION

             a.        No person will rnake a public disclosure of any Subject Discovery Material

   obtained in discovery in this Litigation and designated as Confidential Information by any Party

   pursuant to Paragraph 4 above without an order of the Court or as stipulated by the Parties.

             b.        If any person subject to this Agreement is served with a subpoena, demand or

   other legal process seeking disclosure of Confidential Information, unless disclosure is

   prohibited by law, that person shall give prompt written notice of such event to counsel for the

   Designating Party.         Such Designating Party shall then have the right to seek to intervene to

   preclude the production of such Confidential Information or otherwise object to its production.

   Upon receipt of written notice, counsel for the Designating Party shall advise, in writing, the

   person who is to respond to the subpoena or demand of its position. The Designating Party

   assumes        responsibility for preserving and prosecuting any objection to the subpoena or demand.
   The person served shall be obligated to cooperate to the extent necessary to preserve the

   confidentiality of the Confidential Information, provided, however, that nothing herein shall be
   construed as precluding the person served from complying with the obligations irnposed on him

   or   her by law, requiring the person served to challenge          or   appeal any order requiring the

   production of Confidential Information,        or   subjecting himself or herself to any penalties for

   noncompliance with any legal process or order or to seek any relief from the Court.
   9.        INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
             MATERIAL
             a.        Pursuant to Rule 502(d) for the Federal Rules of Evidence, inadvertent disclosure

   and/or production of Subject Discovery Material claimed to be subject to either the attorney-

   client privilege or the work product doctrine does not waive the applicability of such privilege or

   doctrine relative to the inadvertently disclosed and/or produced Subject Discovery Material. If

   any such Subject Discovery Material is inadvertently disclosed to the Receiving Party by the

   Producing Party, the Producing Party rnay request that the Receiving Party transfer such Subject

   Discovery Material back to the Producing Party, and the Receiving Party must comply by




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   returning such Subject Discovery Material, provided, however, that such request rnust be rnade
   within thirty (30) days of the Producing Party's first discovery of the inadvertent production.

   Within seven   (7) calendar days of the Receiving Party's return of such inadvertently produced

   Subject Discovery Material, the Producing Party shall serve         a   privilege log listing the returned

   Subject Discovery Material that sufficiently identifies the document and the basis for the

   privilege asserted. The Receiving Party shall then have the right, but not the obligation, to seek
   relief frorn the Court challenging the Producing Party's claim of privilege or work product

   protection.

   1   0.   MISCELLANEOUS

            a.        Nothing in this Agreernent shall make a Party responsible to another Party or non-

   Party for any use made of inforrnation that was           produced and not designated as Confidential
   Information.

            b.        Nothing in this Agreernent shall prejudice the right of any Party or non-Party to

   oppose production of any information for lack of relevance, privilege, or any ground other than

   confidentiality.
            c.        In the event that a new party is added, substituted, or brought in to this Litigation,

   they must agree to be bound by the terms of this Agreement before they are permitted to receive

   any document disclosed hereunder.

            d.        Nothing in this Agreement shall prejudice the right of any Party or non-Party to

   bring before the Court at any time the question of whether any greater or lesser restrictions
   should be placed upon the disclosure of any Confidential Information.

            e.        Any specific part or parts of the restrictions imposed by this Agreement rnay be
   terminated at any tirne by a written stipulation by the Parties hereto or by an order of the Court

   for good cause shown.

            f.        Designating any Subject Discovery Material as Confidential Information does not

   necessarily denote that such Confidential Information is a trade secret.

            g.        Nothing in this Agreement shall be construed as lirniting or negating the right of



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   any party hereto to bring a motion to compel discovery in this action, or      as   lirniting or negating
   the right of any Party to object to any requested discovery such Party otherwise believes in good

   faith to be improper.

             h.        This Agreement shall not preclude any Party from using or disclosing any of its,

   his, or her own     documents or materials for any lawful purpose.

             i.        Notice under this Agreement shall be to the Parties       as    follows, unless this

   provision is modified by the Parties in writing and filed with the Court:
                          i.   Notice to Plaintiffs shall be made to Alfred J. Bennington, Jr., Glennys

                               Ortega Rubin, Michael J. Quinn, and Danielle Reyes of Shutts & Bowen,

                               LLP;
                         ii.   Notice to Slattery, Sobel & De Camp, LLP, Del Mar Law Group, LLP,

                               Carlsbad Law Group, LLP and JL "Sean" Slattery shall be rnade to Brian

                               Wagner, and W. Scott Gabrielson;
                        iii.   Notice to Pandora Marketing, LLC, Pandora Servicing, LLC, Rich Folk,

                               William Wilson and Kenneth Eddy shall be made to Sheena D. Smith, and

                               Jonathan Vine; and

                        iv.    Notice to Intermarketing Media d/b/a Resort Advisory Group shall be

                               rnade to Andrew Stolper, Jonathan Parrott, and Issac Marcusharner.

   11.      FINAL DISPOSITION
            a.         Upon final disposition of this action (defined above) all Receiving Parties shall,

   within sixty (60) days, assemble and return to the respective Producing Party all Confidential

   Information and copies thereof which may have been made (excluding any related attorney notes

   or    attorney work product), unless such Receiving Party determines in good faith that such

   Confidential Information must be retained for a longer period to comply with professional

   obligations    or   applicable record-keeping requirements. Alternatively, all Subject Discovery
   Material and copies thereof may be destroyed by the Receiving Party within sixty (60) days of

  the final disposition of this action. The Receiving Party rnust give notice in writing to the



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   Designating Party that this section has been complied with.



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   Consented to:



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                                                  Attorneys for Slattery, Sobel & DeCamp,
   Attorneys for Plaintiffs                       LLP, Del Mar Law Group, LLP, Carlsbad
                                                  Law Group, LLP and JL "Sean"



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                                                                   Slattery,
                                                                   ,/ /
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Case 6:19-cv-01908-WWB-EJK Document 1H-T Filed 09/14/20 Page 24 of 28 PagelD 38E14




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                                                        Attorneys fir Slattety, Sobel & DeCamp,
       Attorneys for Plaintiffs                         LLP, Del Mar Law Group, LLP, Carlsbad
                                                        Law Group, LLP and JL "Sean" Slattery
                                        „—
                                  ...

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           /A\                               A


                   v                                    Sheena D. Srnith, Esq.

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                                                        Pandora Servicing, LLC, Intermarketing
        and                                             Media, LLC, Rich Folk-, William Wilson
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   Telephone: (305) 374-0440

   Attorneys for Intermarketing Media d/b/a Resort
   Advisory Group




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          Case 6:19-cv-01908-WWB-EJK            Document 151-2 Filed 09/14/20                Page 1 of 1 PagelD 3529


Sheena D. Smith

From:                  Sheena D. Smith
Sent:                   Friday, August 28, 2020 5:48 PM
To:                    'Glennys Ortega Rubin'; 'Michael J. Quinn'; 'Todd F. Kobrin'; 'Benjamin F. El liott'; 'Bud Bennington';
                       'Cheri L. Lima'; 'Danielle M. Reyes'
Cc:                    sgabrielson@mateerharbert.com; 'Brian Wagner'; Andrew Stolper; Jonathan Vine; Jonathan Parrott;
                       Leslie A. Vargo; 'Maritza Nowowiejski'
Subject:               Claim No. 0004714892 (Wyndham Vacation Ownership, Inc., et al. vs. Pandora Marketing, LLC f/k/a
                       Timeshare Compliance, LLC d/b/a Timeshare Compliance d/b/a timeshareexitcomp) CSK File:
                       0284.0012-00:

Categories:            Green Category



Good evening all,

It has come to our attention that the following documents which are subject to the attorney-client privilege, work-
product privilege, and/or common interest privilege were inadvertently produced on August 3, 2020. Pursuant to
Paragraph 9 of the Confidentiality Stipulation, we ask that you return to us the inadvertently produced documents.

      •     Pandora 283756
      •     Pandora 283763
      •     Pandora 283767
      •     Pandora 283772
      •     Pandora 286423
      •     Pandora 283766
      •     Pandora 283760
      •     Pandora 27116-18
      •     Pandora 270908




                                                        EXHIBIT B
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                                                                                                            Case No, 6:19-ev-1908-0r1-78-ESK


                                                                                                    Email between clients
                                                              Jonathan                              and         attorneys
                                                          Parrott, Andrew                           regarding request for                       Attorney
                                                           Stolper, Jacob                           information                                   client
                                      Pandora               Post, Sheena                            concerning Pandora                    privilege /
       4/10/2020      Catherine                                                                                                                              Pandora
4.
        3:20 pm         Tan          Marketing             Smith, Rich                  PDF         Marketing,      LLC's                Work-product        286423
                                                                                                                                                                          1

                                       's Rep              Folk, James                              employees           and               /cornmon-
                                                           Wilson, Jason                            independent                                  interest
                                                           Krieck, Jerry                            contractors          in                     privilege
                                                              Bloch,                                furtherance          of
                                                                                                    defensive strategy.
                                                                                                    Attachment to email
                                                                                                    sent at 4/10/2020 at
                                                                                                    3:20 pm regarding                      Attorney
                                                                                                    spreadsheet               of             client
                                                                                                    inforrnation requested                privilege /        Pandora
5.                                                                                      .xlsx       by            attorneys              Work-product                     1
                                                                                                                                                             286426
                                                                                                    regarding employees                   /cornmon-
                                                                                                    and        independent                       interest
                                                                                                    contractors           in                    privilege
                                                                                                    furtherance          of
                                                                                                    defensive strategy.
                                                             Bo Wilson,
                                                             Rich Folk,                                                                     Attorney
                                                           Jason Krieck,                                                                       client
                                                                                                   Email             between
                                                           Catherine Tan,                                                                   privilege /
       4/10/2020      Jonathan                                                                      attorneys and clients                     Work-          Pandora
6.                                                          Jeny Bloch,                 PDF
        7:11 pm        Parrott        Attorney                                                      discussing      third                                                 1
                                                              Andrew                                                                        Product /        283766
                                                                                                    parties           and
                                                              Stolper,                                                                      Common-
                                                                                                    communications.
                                                           Jonathan Vine,                                                                    interest
                                                           Sheena Smith,                                                                        privilege
                                                             Jacob Post
                                                                                                   Email            regarding
                                                                                                                                            Attorney         Pandora
                                                                                                   conference              and
       4/13/2020      Andrew                                                                                                                   client        283760
                                                              Rich Folk                            strategy            re:
7.                                   Attorney                                           PDF                                                 privilege /
        8:47 am        Stolper                             Catherine Tan                           discussions with third                   '                             1

                                                                                                                                              Work-          Pandora
                                                                                                   parties in furtherance                    Product         283756
                                                                                                   of defensive strategy.
                                                                                                   Ernail     regarding                         Attorney     Pandora
                                                                                                   conference       and                          client      283756 —



       4/13/2020
8.    11:59 (PST) /   Rich Folk        Client             Andrew Stolper                PDF        strategy            re:                  privilege /       283757
                                                                                                                                                                          2
                                                                                                   discussions with third                       common-
         2:59 pm
                                                                                                   parties in furtherance                        interest    Pandora
                                                                                                   of defensive strategy.                       privilege    283760
                                                                                                   Email        regarding
                                                                                                   conference         with
                                                                                                                                                Attorney      Pandora
                                                                                                   attorneys                 on
                                                                                                                                                  client     283763 —




                      Catherine       Pandora                                                      defensive          strategy
       4/14/2020                                            Rich Folk                                                                       privilege /       283764
9.                                  Marketing                                           PDF        concerning       third-                                                2
        1:36 pm         Tan                               Andrew Stolper                                                                        common-
                                      's Rep.                                                      parties   and      lead
                                                                                                                                                 interest    Pandora
                                                                                                   generation           in
                                                                                                                                                privilege    283760
                                                                                                   furtherance          of
                                                                                                   defensive strategy.
                      Andrew                                                                       Ernail        between                                     Pandora
       4/14/2020                                           Catherine Tan                                                                 Work-product
10.                                  Attorney                                           PDF        attorneys and clients                                     283760   -
                                                                                                                                                                          2
        2:01 pm        Stolper                             and Rich Folk                                                                            /
                                                                                                   speaking          with                                     283761


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                                                                                                                                        (561) 683-8977 FAX
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      Case 6:19-cv-01908-WWB-EJK                         Document 151-3                      Filed 09/14/20             Page 3 of 10 PagelD 3532
                                                                                                        Case No. 6:19-ev-1908-0r1-78-E.11(



                                                                                                 attorney and meeting                    Attorney
                                                                                                 (attorney responding                      client
                                                                                                 to items listed as                      privilege
                                                                                                 number 2 on list.)
                                                                                                 Email between clients
                                                                                                 and         attorneys
                                                                                                 regarding request for
                                                                                                 information
                                                                                                 concerning
                                                                                                                                                         Pandora
                                                                                                 ernployees         and
                                                                                                                                     Work-product        286381-
      4/18/2020                    Pandora                                                       independent                                             286382
                  Catherine                              Jacob Post,                             contractors         for
11.    1:28 am                   Marketing                                           PDF                                                 Attorney                  2 / 2
                    Tan                                Jonathan Parrot                           Diamond       Resorts
                                    's Rep.                                                                                                client        Pandora
                                                                                                 U. S,       Collection
                                                                                                                                         privilege       286406
                                                                                                 Development,      LLC
                                                                                                                                                         286407
                                                                                                 and Diarnond Resorts
                                                                                                 Hawaii       Collection
                                                                                                 Development,      LLC
                                                                                                 case in furtherance of
                                                                                                 defensive strategy.
                                                                                                 Email between clients
                                                                                                 and         attorneys
                                                        Catherine Tan,                           regarding request for
                                                                                                 information
                                                         Jacob Post,
                                                       Jonathan   Parconcerning
                                                                   rot,      loees                                      and
                                                                                                                                                         Pandora
                                                        James Wilson,                            ernpy                                                   286380-
                                                                                                                                     Work-product
      4/18/2020                                             Andrew                              independent                                              286381
       3:10 pm    Rich Folk                                                                     contractors         for
12.                                 Client                Stolper,                   PDF                                                Attorney                    2
                                                                                                Diamond       Resorts
                                                       Jonathan Vine,                                                                     client         Pandora
                                                                                                U. S,       Collection
                                                       Sheena Smith,                                                                    privilege        286405-




                                                                                                Development,   LLC                                        286406
                                                        Jerry Bloch,
                                                                                                and Diamond Resorts
                                                       Courtney Dean,
                                                        Leslie Vargo                            Hawaii    Collection
                                                                                                Development,      LLC

                                                                                              of,
                                                                                                case in furtherance
                                                                                                defensive strategy.
                                                                                                Email         between
                                                                                                attorneys and clients
                                                                                                regarding request for
                                                                                                 clarification of facts
                                                                                                in furtherance       of
                                                                                                drafting        discovery
                                                                                                responses to Diamond
                                                                                                Resorts          U.S.                Work-product        Pandora
      4/19/2020                                                                                 Collection                                               286380
13.               Jacob Post      Attorney              Catherine Tan                PDF        Development,     LLC                    Attorney                    1
       9:05 am
                                                                                                and Diamond Resorts                      client          Pandora
                                                                                                Hawaii      Collection                  privilege        286405
                                                                                                Development, LLC' s
                                                                                                Frist      Set       of
                                                                                                Interrogatories      in
                                                                                                furtherance          of
                                                                                                defensive strategy.




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                                                                                                                                    (561) 683-8977 FAX
       Case 6:23-cv-01513-WWB-EJK Document 1-1 Filed 08/08/23 Page 70 of 95 PageID 81
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                                                                                                         Case No. 6:19-ev-1908-0r1-78-E.11(


                                                                                                 Email           between
                                                                                                 attorneys and clients
                                                           Jacob Post                            regarding request for
                                                                                                 clarification of facts
                                                        Catherine Tan,
                                                                                                 in     furtherance    of
                                                           Jonathan
                                                                                                 drafting        discovery                                Pandora
                                                        Parrott, James
                                                                                                 responses to Diamond                 Work-product        286379-
                                                           Wilson,
                                                                                                 Resorts          U.S.                         /          286380
      4/19/2020                                            Andrew
14.                Rich Folk        Client                                            PDF        Collection                              Attorney                       2
       1:12 pm                                            Stolper,
                                                                                                 Development,    LLC                        client        Pandora
                                                       Jonathan Vine,
                                                                                                 and Diamond Resorts                      privilege       286404    -



                                                       Sheena Smith,
                                                                                                 Hawaii     Collection                                    286405
                                                        Jerry Bloch,
                                                       Courtney Dean,                            Development, LLC's
                                                                                                 Frist    Set    of
                                                        Leslie Vargo
                                                                                                 Interrogatories       in
                                                                                                 furtherance           of
                                                                                                  defensive strategy..
                                                                                                 Ernail          between
                                                                                                  attorneys and clients
                                                          Rich Folk,                             regarding request for
                                                        Catherine Tan,                           clarification of facts
                                                                                                 in     furtherance    of
                                                          Jonathan                                                                                        Pandora
                                                        Parrott, James                           drafting       discovery                                 286379
                                                                                                 responses to Diamond Work-product
                                                            Wilson,                              Resorts               U.S.                    /
      4/19/2020                                             Andrew                                                                                        Pandora
15Jacob                  Post     Attorney                                            PDF        Collection                              Attorney                       1
  286355.
      10:21 am                                            Stolper,
                                                                                                 Development,     LLC                      client
                                                       Jonathan Vine,
                                                                                                 and Diamond Resorts                     privilege
                                                       Sheena Smith,                                                                                      Pandora
                                                                                                 Hawaii      Collection
                                                        Jerry Bloch,                                                                                      286403
                                                       Courtney Dean,                            Development, LLC's
                                                                                                 Frist      Set       of
                                                        Leslie Vargo
                                                                                                 Interrogatories      in
                                                                                                 furtherance          of
                                                                                                 defensive strategy.
                                                                                                 Email         between
                                                                                                 attorneys and clients
                                                          Jacob Post,                            regarding discussing
                                                                                                 clarifications of facts
                                                        Catherine Tan,
                                                                                                 in furtherance       of                                  Pandora
                                                          Jonathan
                                                                                                 drafting     discovery                                   286379
                                                       Parrott, James
                                                                                                 responses to Diamond                 Work-product
                                                          Wilson,
                                                                                                 Resorts           U.S.                        /          Pandora
      4/19/2020                                           Andrew
16.               Rich Folk         Client                                           PDF         Collection                              Attorney         286355—
                                                                                                                                                                        1
      10:35 arn                                           Stolper,
                                                                                                 Development,   LLC                       client           286356
                                                       Jonathan Vine,
                                                                                                 and Diamond Resorts                     privilege
                                                       Sheena Smith,
                                                                                                 Hawaii    Collection                                     Pandora
                                                        Jerry Block,                                                                                      286403
                                                       Courtney Dean,                            Development, LLC's
                                                                                                 Frist   Set     of
                                                        Leslie Vargo
                                                                                                Interrogatories      in
                                                                                                furtherance          of
                                strategy.,                                                      defensive
                                                          Rich Folk,                            Email          between               Work-product         Pandora
                                   Pandora                Jacob Post,                           attorneys and clients                          /          286379
      4/19/2020   Catherine
17.                              Marketing             Catherine Tan,                PDF        regarding discussion                     Attorney                       1
       2:55 pm      Tan
                                    's Rep.              Jonathan                               to              discuss                     client        Pandora
                                                       Parrott, James                           clarifications of facts                  privilege        286355


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                                                                                                         Case No. 6:19-cv-1908-0r1-78-EJK


                                                           Wilson,                               in    furtherance    of
                                                           Andrew                                drafting      discovery                                  Pandora
                                                           Stolper,                              responses to Diamond                                     286402-
                                                        Jonathan Vine,                           Resorts               U.S.                               286403
                                                        Sheena Srnith,                           Collection
                                                        Jerry Block,                             Development, LLC
                                                       Courtney Dean,                            and Diamond Resorts
                                                        Leslie Vargo                             Hawaii    Collection
                                                                                                 Development, LLC's
                                                                                                 Frist        Set       of
                                                                                                  Interrogatories        in
                                                                                                 furtherance            of
                                                                                                 defensive strategy.
                                                                                                 Email           between
                                                                                                 attorneys and clients
                                                        Catherine Tan,                           regarding discussion
                                                                                                 to                discuss
                                                         Rich Folk,
                                                                                                 clarifications of facts                                  Pandora       —



                                                          Jacob Post,
                                                                                                 in     furtherance     of                                286378
                                                       Jonathan Parrot,
                                                        James Wilson,                            drafting       discovery
                                                                                                 responses to Diamond                 Work-product        Pandora
                                                            Andrew                                                                             /
      4/20/2020    Sheena                                                                        Resorts               U.S.                               286354    —



18.                               Attorney                  Stolper,                  PDF                                                Attorney                           1
      11:46 am      Smith                                                                        Collection                                                286355
                                                        Jonathan Vine,                                                                     client
                                                          Sheena D.
                                                                                                 Development, LLC
                                                                                                 and Diamond Resorts                     privilege        Pandora
                                                         Smith, Jerry
                                                                                                 Hawaii      Collection                                   286402
                                                           Bloch,
                                                                                                 Developrnent, LLC's
                                                       Courtney Dean,                            Frist      Set       of
                                                        Leslie Vargo
                                                                                                 Interrogatories      in
                                                                                                 furtherance          of
                                                                                                 defensive strategy.
                                                                                                 Email          between
                                                                                                 attorneys and clients
                                                        Catherine Tan,                           regarding     finalized
                                                          Rich Folk,                             draft           discovery                                Pandora
                                                        James Wilson,                            responses to Diamond                                     286377
                                                          Jonathan                               Resorts          U.S.
                                                       Parrott, Andrew                           Collection                           Work-product        Pandora
                                                                                                                                               /
      4/20/2020                                            Stolper,                              Development,     LLC                                     286353-
19.               Jacob Post      Attorney                                            PDF                                                Attorney
      11:46 am                                         Jonathan Vine,                            and Diamond Resorts                                      286354
                                                                                                                                                                            1

                                                                                                                                          client
                                                           Sheena D.                             Hawaii      Collection
                                                                                                                                         privilege
                                                        Smith, Jerry                             Development, LLC's                                       Pandora
                                                           Bloch,                                Frist      Set       of                                  286401
                                                       Courtney Dean,                            Interrogatories      in
                                                        Leslie Vargo                             furtherance          of
                                                                                                 finalizing the       same
                                                                                                 for serving.
                                                        Catherine Tan,                          Email         between
                                                          Rich Folk,                            attorneys and clients
                                                        James Wilson,
                                                                                                                                                          Pandora
                                                                                                regarding revisions to                Work-product        286376
                                                           Jonathan                             draft       discovery                          /
      4/20/2020
20.               Jacob Post      Attorney             Parrott, Andrew               PDF        responses to Diamond                     Attorney                           1
       2:14 pm                                                                                                                                            Pandora
                                                           Stolper,                              Resorts               U.S.               client
                                                                                                                                                          286351    —




                                                        Jonathan Vine,                          Collection                               privilege         286352
                                                          Sheena D.                             Development, LLC
                                                         Smith, Jerry                           and Diamond Resorts


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                                                                                                          Case No. 6:19-ev-1908-0r1-78-EJK


                                                             Bloch,                               Hawaii    Collection
                                                         Courtney Dean,                           Development, LLC's
                                                          Leslie Vargo                            Frist    Set       of
                                                                                                  Interrogatories.
                                                                                                  Email         between
                                                         Jacob Post Rich                          attorneys and clients                                    Pandora
                                                           Folk, James                            regarding revisions to
                                                                                                  draft                                                    286376-
                                                              Wilson,                                          discovery                                   286377
                                                         Jonathan Parrot,                         responses to Diamond                 Work-product
                                  Pandora                   Andrew                                Resorts           U.S.                        /
      4/20/2020   Catherine                                                                                                                                Pandora
21.                              Marketing                  Stolper,                  PDF         Collection                              Attorney                       2
       4:32 pm      Tan                                                                                                                                    286353
                                   's Rep.               Jonathan Vine,                           Development,   LLC                       client
                                                         Sheena Smith,                            and Diamond Resorts                     privilege        Pandora
                                                          Jerry Bloch,                            Hawaii    Collection
                                                                                                                                                           286401
                                                         Courtney Dean,                           Development, LLC's
                                                          Leslie Vargo                            Frist      Set        of
                                                                                                  Interrogatories.                                                   _




                                                                                                  Email          between
                                                         Catherine Tane,                          attorneys and clients
                                                            Rich Folk,                            regarding        factual
                                                          James Wilson,                           revisions    to    draft
                                                         Jonathan Parrot,                         discovery responses                  Work-product        Pandora
                                                             Andrew                               to Diamond Resorts                            /
      4/20/2020                                                                                                                                            286350-
22.               Jacob Post      Attorney                   Stolper,                 PDF         U.S.      Collection                    Attorney                       1
       3:28 pm                                                                                                                                             286351
                                                         Jonathan Vine,                           Development,          LLC                client
                                                         Sheena Smith,                            and Diamond Resorts                     privilege
                                                          Jeny Bloch,                             Hawaii    Collection
                                                         Courtney Dean,                           Development, LLC's
                                                          Leslie Vargo                            Frist      Set       of
                                                                                                  Interrogatories.
                                                                                                  Email         between
                                                                                                  attorneys and clients
                                                                                                  regarding       factual
                                                         Catherine Tane,
                                                           Rich Folk,                             questions/clarificatio
                                                                                                  n in furtherance of
                                                         James Wilson,
                                                         Jonathan Parrot,                         drafting revisions to
                                                                                                  draft                                Work-product
                                                             Andrew                                           discovery                         /          Pandora
      4/20/2020                                                                                   responses to Diamond
23.               Jacob Post      Attorney                   Stolper,                 PDF                                                                  286400
       5:14 pm                                                                                    Resorts               U.S.              Attorney                       1


                                                         Jonathan Vine,                                                                    client
                                                                                                  Collection
                                                         Sheena Smith,                                                                    privilege
                                                                                                 Development,   LLC
                                                          Jerry Bloch,                           and Diamond Resorts
                                                         Courtney Dean,                          Hawaii    Collection
                                                          Leslie Vargo
                                                                                                 Development, LLC's
                                                                                                 Frist    Set       of
                                                      Interrogatories..,
                                                                                                 Attachment to email
                                                                                                 sent at 4/20/2020 at
                                                                                                 5:14 pm regarding
                                                                                                 revised responses to                 Work-product
                                                                                                                                                /
24.                                                                                              discovery responses                                       Pandora
                                                                                      .docx                                               Attorney                       14
                                                                                                 to Diamond Resorts                                        286409
                                                                                                                                           client
                                                                                                 U.S.      Collection
                                                                                                                LLC                       privilege
                                                                                                 Development,
                                                                                                 and Diamond Resorts
                                                                                                 Hawaii    Collection


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                                                                                                        Case No. 6:19-ev-1908-0r1-78-EJK



                                                                                                Development, LLC's
                                                                                                Frist      Set       of
                                                                                                Interrogatories.
                                                                                                Email          between
                                                      Jacob Post Rich                           attorneys and clients
                                                         Folk, James                            regarding revisions to
                                                           Wilson,                              draft        discovery                                  Pandora
                                                      Jonathan Parrot,                          responses to Diamond                 Work-product       286375    -




                                  Pandora                  Andrew                               Resorts            U.S.                       /          286376
25.
      4/20/2020   Catherine
                                Marketing                  Stolper,                  PDF        Collection                              Attorney                      2
       6:20 pm      Tan
                                   's Rep.            Jonathan Vine,                            Developrnent,     LLC                    client         Pandora
                                                      Sheena Srnith,                            and Diamond Resorts                     privilege       286351
                                                       Jerry Bloch,                             Hawaii      Collection
                                                      Courtney Dean,                            Development, LLC's
                                                        Leslie Vargo
                                                                                              of,
                                                                                                Frist      Set
                                                                                                Interrogatories.
                                                                                                Email          between
                                                       Catherine Tan                            attorney and clients
                                                          Rich Folk,                            regarding revisions to
                                                       James Wilson,                            draft        discovery
                                                         Jonathan                               responses to Diamond                 Work-product
      4/20/2020                                       Parrott, Andrew                           Resorts                U.S.                   /         Pandora
26.               Jacob Post     Attorney                 Stolper,                   PDF        Collection                              Attorney        286375
       6:28 pm                                                                                                                                                        1




                                                      Jonathan Vine,                            Development, LLC                         client
                                                       Sheena Smith,                            and Diamond Resorts                     privilege
                                                        Jerry Bloch,                            Hawaii      Collection
                                                      Courtney Dean,                            Development, LLC's
                                                        Leslie Vargo                            Frist      Set       of
                                                                                                Interrogatories..
                                                                                                Attachment to email
                                                                                                sent at 4/20/2020 6:
                                                                                                28    pm    regarding
                                                                                                revised responses to
                                                                                                discovery responses                 Work-product
                                                                                                to Diamond Resorts                            /         Pandora
27.                                                                                 .docx       U.S.       Collection                                   286385        15
                                                                                                                                        Attorney
                                                                                                Development,     LLC                      client
                                                                                                and Diamond Resorts                     privilege
                                                                                                Hawaii     Collection
                                                                                                Development, LLC's
                                                                                                Frist     Set       of
                                                                                                Interrogatories..
                                                                                                Email              between
                                                         Jacob Post,                            attorney     and     clients
                                                         Rich Folk,                             regarding discovery
                                                       James Wilson,                            responses to Diamond
                                                      Jonathan Parrot,                          Resorts          U.S.               Work-product
                                  Pandora                 Andrew                                Collection                                    /
      4/20/2020   Catherine                                                                                                                             Pandora
28.                             Marketing                Stolper,                    PDF        Development,     LLC                    Attorney                      1
       6:50 pm      Tan                                                                                                                                 286350
                                  's Rep.             Jonathan Vine,                            and Diamond Resorts                       client
                                                      Sheena Srnith,                            Hawaii      Collection                  privilege
                                                       Jeny Bloch,                              Development, LLC's
                                                      Courtney Dean,                            Frist      Set       of
                                                       Leslie Vargo                             Interrogatories.




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                                                                                                           Case No. 6:19-ov-1908-0d-78-EX


                                                                                                 Discovery responses
                                                                                                 to Diarnond Resorts
                                                                                                 U.S.        Collection               Work-product
                                                                                    Attach       Development, LLC                                         Pandora
29                                                                                               and Diamond Resorts                     Attorney                   16
                                                                                     ment                                                                 286359
                                                                                                 Hawaii      Collection                   client
                                                                                                 Development, LLC's                      privilege
                                                                                                 Frist      Set       of
                                                                                                 Interrogatories.
                                                          Rich Folk,
                                                        James Wilson,
                                                                                                 Email        between
                                                        Catherine Tan,
                                                       Jonathan Parrot,                          attorneys and clients
                                                                                                 regarding      recent
                                                          Andrew
                                                                                                 filings    in   Diamond              Work-product
                                                        Stolper, Isaac                           Resorts               U.S.
      4/27/2020                                        Marcushamer,                                                                                       Pandora
30.               Jacob Post      Attorney                                            PDF        Collection                              Attorney                    2
       5:19 pm                                            Maritza                                                                                         271435
                                                                                                 Development,          LLC                client
                                                       Nowowiejslci,                             and Diarnond Resorts
                                                       Jonathan Vine,                                                                    privilege
                                                                                                 Hawaii   Collection
                                                       Sheena Smith,
                                                                                                 Development, LLC
                                                        Jerry Bloch,
                                                                                                 case.
                                                       Courtney Dean,
                                                        Leslie Vargo
                                                                                                 Attachment to ernail
                                                                                                 between     4/27/2020
                                                                                                 email     5:19     pm
                                                                                                 attorneys and clients
                                                                                                 regarding       recent
                                                                                                                                     Work-product
                                                                                                 filings in Diamond
                                                                                                 Resorts               U.S.                               Pandora
31.                                                                                   PDF                                                Attorney                   103
                                                                                                 Collection                                               271437
                                                                                                                                          client
                                                                                                 Development, LLC
                                                                                                 and Diamond Resorts
                                                                                                                                         privilege
                                                                                                 Hawaii     Collection
                                                                                                 Development, LLC
                                                                                                 case.


                                                                                                 Attachment to email
                                                                                                 between     4/27/2020
                                                                                                 ernail    5:19     pm
                                                                                                 attorneys and clients
                                                                                                 regarding       recent
                                                                                                 filings in Diamond
32.                                                                                   PDF        Resorts               U.S.          Work-product
                                                                                                 Collection                                               Pandora
                                                                                                                                         Attorney                   15
                                                                                                 Development,   LLC                                       271540
                                                                                                                                          client
                                                                                                 and Diamond Resorts
                                                                                                 Hawaii    Collection                    privilege
                                                                                                 Developrnent, LLC
                                                                                                 case.
                                                         Darrell Hall,                           Email         between                  Attorney
                                                        Catherine Tan,                           attorneys and  client's                 Work-
      8/1/2020                     RAG's                David Klein,                            representatives                         Product /         Pandora
33.               Eric Kitt ler                                                      PDF                                                                             1
      5:33 pm                     client rep           Jonathan Parrot,                         regarding documents                     Attorney          270908
                                                        Jason K, Mike                           BBB     referrals and                     client
                                                            Krieck                               discovery                in         privilege/com


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                                                                                                                                     (561) 683-8977 FAX
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                                                                                                    Case No. 6:19-cv-1908-0r1-78-E.IK


                                                                                            furtherance               of       mon-interest
                                                                                            responding                to         privilege
                                                                                            discovery.

                                KEY
        Name                        Title/Position/Role
       Rich Folk                Client / Member of Pandora
                                      Marketing. LLC
     James Wilson               Client / Member of Pandora
                                      Marketing, LLC
     Catherine Tan              Pandora Marketing, LLC's
                                         Operations Director
     Jason Krieck             Resort Advisory Group's Rep.
     Jelly Bloch                     General Counsel
    Andrew Stolper          Outside counsel —Frank, Sims, and
                                         Stolper
    Jonathan Parrott        Outside counsel Frank, Sims, and
                                                        —




                                          Stolper
       Maritza               Legal Assistant Frank, Sims, and
                                                        -




     Nowowieiski                          Stolper
         Isaac                Local counsel Mark Migdal &
                                                    -




     Marcushamer        _
                                          Hayden
     Jonathan Vine            Outside counsel Cole, Scott & —




                                       Kissane. P.A.
     Sheena Smith             Outside counsel Cole, Scott & —




                                       Kissane, P.A.
      Jacob Post              Outside counsel Cole, Scott & —




                                       Kissane, P.A.
     Leslie Vargo           Legal Assistant to Sheena Smith and
                                       Jonathan Vine
    Courtney Dean              Legal Assistant to Jacob Post

  Dated: September 12, 2020                                             Respectfully submitted,

                                                                        COLE SCOTT & KISSANE, P.A.
                                                                        222 Lakeview Avenue Suite 120
                                                                        West Palm Beach, FL 33401
                                                                        Tel: (561) 383-9200
                                                                        Fax: (561) 683-8977
                                                                        ionathan.vine0),eskleaaLeom;
                                                                        Sheena.Stnith@cskleg..al.com

                                                                              Sheena D. Smith
                                                                        JONATHAN VINE
                                                                        FBN: 010966
                                                                        SHEENA D. SMITH
                                                                        FBN: 118919




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                                                            COLE, SCOTT & KISSANE, P.A.
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                                                                                                                           -
Case 6:23-cv-01513-WWB-EJK Document 1-1 Filed 08/08/23 Page 76 of 95 PageID 87
Case 6:19-cv-01908-WWB-EJK                        Document 151-3                      Filed 09/14/20             Page 10 of 10 PagelD 3539
                                                                                                   Case No, 6:19-cv-1908-0r1-78-EJK


                                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 12th day of Septernber 2020, the foregoing was                                                           serve

     to those parties identified on the below Service List.

                                                           SERVICE LIST

    Glennys Ortega Rubin, Esq.                                               Andrew Stolper, pro hac vice
    Michael James Quinn, Esq.                                                Jonathan Parrott, pro hac vice
    Todd Fredrick Korbin, Esq.                                               Frank Sims Stolper
    Alfred J. Bennington, Jr., Esq.                                          19800 MacArthur Blvd., Suite 855
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    Orlando, Florida 32801
            grubin@shutts.com                                                Isaac Meyer Marcushamer, Esq.
    Ernail: mquinn@shutts.corn                                               MARK MIGDAL & HAYDEN
    Email: tkorbin@shutts.com                                                80 SW 8th Street, Suite 1999
    Email: bbennington@shutts.com                                            Miarni, Florida 33130
      Counsel for the Plaintifft                                                    isaac@rnarkmigdal.corn

                                                                             Counsel         for      Defendant                 Intermarketing
                                                                             Media, LLC




    Brian L. Wagner, Esq.
    W. Scott Gabrielson, Esq.
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    Counsel for Defendants Slatteiy, Sobel &
    Decamp, LLP, Del Mar Law Group, LLP,
    Carlsbad Law Group, LLP, JL "Sean"
    Slattery




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                                                     COLE, SCOTT & KISSANTE, P.A.
             ESPERANTE BUILDING   -
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                                                                           WEST PALM BEACH, FLORIDA 3340 (561) 383-9200
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                                                                                                                              (561) 683-8977 FAX
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Case 6:19-cv-01908-WWB-EJK            Document 799-5    Filed 05/26/22   Page 1 of 2 PagelD 25296




                             IN THE UNITED STATES DISTRICT COURT
                             FOR TBE MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

                                   CASE NO: 19-CV-01908-WWB-EJK


  WYNDHAM VACATION OWNERSHIP,
  INC., WYNDHAM VACATION RESORTS,
  INC., WYNDHAM RESORT DEVELOPMENT
  CORPORATION, SHELL VACATIONS,
  LLC, SVC-AMERICANA, LLC and
  SVC-HAWAII, LLC,

         Plaintiffs,

  VS.



  SLATTERY, SOBEL & DECAMP, LLP,
  DEL MAR LAW GROUP, LLP, CARLSBAD
  LAW GROUP, LLP, JL 'SEANSLATTERY
  PANDORA MARKETING, LLC ffk/a Timeshare
  Compliance, LLC d/b/a Time Share Compliance, and
  d/b/a tirneshareexitcompanies.corn and d/b/a
  timesharecancellationreviews.corn; PANDORA
  SERVICING, LLC, INTERMARKETING MEDIA,
  LLC. d/b/a Resort Advisory Group, POWER HAUS
  MARKETING, INC., KENNE11-1 EDDY a/k/a
  Ken Eddy, RICH FOLK, WILLIAM WILSON
  a/k/a James Wilson a/k/a Bo Wilson and ANDRIS
  PUKKE a/k/a Marc Rorneo a/k/a Andy Storm,

         Defendants.



                AMENDED           DECLARATION       OF HOUSTON       S. PARK III

         I, Houston S. Park III, pursuant to 28 U.S.C. Section 1746, hereby declare:

           1.     I am   a   Partner in the Florida law firm of Klein Park & Lowe, P.L. (Klein

  Park);
                                                                                        EXHIBIT
                                                                                 4$

                                                                                   8
                                                                                   0
                                                                                                    •
Case 6:23-cv-01513-WWB-EJK Document 1-1 Filed 08/08/23 Page 78 of 95 PageID 89
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  Case No:19-CV-01908-WWB-EJK
  Declaration of Houston       S. Park III

  Page 2


           2.        Klein Park represented the Co-Defendants, Pandora Marketing, LLC,

  Pandora Services, LLC, William Wilson, and Rich Folk (Pandora Parties"), in the

  above-styled proceedings from November 11, 2020 to November 29, 2021;

           3.        At no time during Klein Park's representation of the Pandora Parties

  was   I aware      of the contents of any Confidential Settlement Agreement As To Fees,

  reportedly dated November 2, 2020 and entered into by one or more               of the Pandora

  Parties, the Co- Defendant Intermarketing Media, LLC, d/b/a Resort Advisory

  Group, and the Plaintiffs (Confidential Settlement Agreemene);

           4.        I had been told that    a   settlement agreement had been reached on the

  attorney's fees ordered to be paid as a result of a discovery dispute and that the

  amount        of those fees was   confidential; but nothing else.

           5.        I first   heard     about the contents     of the   Confidential   Settlement

  Agreement during a February 25, 2022 telephone conference with current                  counsel for

  the Pandora Parties in these proceedings, John Bennett, Esq.

           FURTHER AFFIANT               SAYETH NOT.

                                             VERIFICATION

           Pursuant to §1746, Title 28, United States Code, I, Houston S. Park III, hereby

  declare and state under penalties of perjury that the foregoing statements                are   true

  and correct.

           Dated this 7th day of April 2022.
                                                    Is/ Houston S. ParkllJ
                                                    Houston S. Park III
                                                    Fla. Bar No: 958492
                                                    KLEIN PARK & LOWE, P.L.
                                                    9130 S. Dadeland. Blvd., Suite 2000
                                                    Miami, FL 33156
                                                    Tel: 305.670.3700
                                                    Fax: 305.670.8592
Case 6:23-cv-01513-WWB-EJK Document 1-1 Filed 08/08/23 Page 79 of 95 PageID 90
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

                                 CASE NO: 19-CV-01908-WWB-EJK



  WYNDHAM VACATION OWNERSHIP,
  INC., WYNDHAM VACATION RESORTS,
  INC., WYNDHAM RESORT DEVELOPMENT
  CORPORATION, SHELL VACATIONS,
  LLC, SVC-AMERICANA, LLC and
  SVC-HAWAII, LLC,

        Plaintiffs,

  VS.


  SLATTERY, SOBEL & DECAMP, LLP,
  DEL MAR LAW GROUP, LLP, CARLSBAD
  LAW GROUP, LLP, JL 'SEANSLATTERY
  PANDORA MARKETING, LLC f/k/a Timeshare
  Cornpliance, LLC d/b/a Time Share Compliance, and
  d/b/a timeshareexitcompanies.corn and d/b/a
  timesharecancellationreviews.com; PANDORA
  SERVICING, LLC, INTERMARKETING MEDIA,
  LLC. d/b/a Resort Advisory Group, POWER HAUS
  MARKETING, INC., KENNETH EDDY a/k/a
  Ken Eddy, RICH FOLK, WILLIAM WILSON
  a/k/a Jarnes Wilson a/k/a Bo Wilson and ANDRIS
  PUKKE a/k/a Marc Romeo a/k/a Andy Storm,

        Defendants.



                       DECLARATION          OF HOUSTON S. PARK III

        I, Houston S. Park III, pursuant to 28 U.S.C. Section 1746, hereby declare:

         1.     I am   a   Partner in the Florida law firm of Klein Park & Lowe, P.L. (Klein

  Parle);
Case 6:23-cv-01513-WWB-EJK Document 1-1 Filed 08/08/23 Page 80 of 95 PageID 91
Case 6:19-cv-01908-WWB-EJK        Document 799-6        Filed 05/26/22   Page 2 of 2 Pagel D 25299

  Case No :1 9 -CV- 09 0 8-WWB -EJK
                        1


  Declaration of Houston S. Park III
  Page 2


           2.     Klein Park represented the Co-Defendants, Pandora Marketing, LLC,

  Pandora Services, LLC, William Wilson, and Rich Folk (Pandora Parties"), in the

  above-styled proceedings from November 11, 2020 to November 29, 2021;

           3.     At no time during Klein Park's representation of the Pandora Parties

  was   I aware   of any Confidential Settlement Agreement As To Fees, reportedly dated

  November 2, 2020 and entered into by one        or   more   of the Pandora Parties, the Co-

  Defendant Intermarketing Media, LLC, d/b/a Resort Advisory Group, and the

  Plaintiffs (Confidential Settlement Agreement");

           4.     I first heard about the Confidential        Settlement Agreement during a

  February 25, 2022 telephone conference with current           counsel for the Pandora Parties

  in these proceedings, John Bennett, Esq.

           FURTHER AFFIANT        SAYETH NOT.

                                       VERIFICATION

           Pursuant to §1746, Title 28, United States Code, I, Houston S. Park III, hereby

   declare and state under penalties of perjury that the foregoing statements          are   true

   and correct.

           Dated this 4th day of April 2022.
                                               Is/ Houston S. Park Ilï
                                               Houston S. Park III
                                               Fla. Bar No: 958492
                                               KLEIN PARK & LOWE, P.L.
                                               9130 S. Dadeland Blvd., Suite 2000
                                               Miami, FL 33156
                                               Tel: 305,670.3700
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